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                  EXHIBIT B




                          EXHIBIT B
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Electronically FILED by Superior Court of California, County of Los Angeles on 04/05/2022 12:11 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                              22STCV11504
                                                                                     ..   .    ++   .



                                                                    , UIETlltlloNa7
                                                                   y7                                                       I                    FORCOURTUSEONLY
                                                                                                                                          (sOLO PARA USO DE LA CORTE)
                                                         (CITAe/ON JUDIClAL)
              NOTICE TO DEFENDANT:
              (AVISO AL DEMANDADO):
               MICROSOP'T CORPORATION, a Wasliitigton Cog)oratioil; aiid DOrS
                l tlil'oUg 1.., Ti1C tlSlve,

              YOU ARE BEING SUED BY PLAINTIFF:
              (LO ESTA DEMANDANDO EL pEMANDANTE):
               DRACrAN ZARIC, a11 iirdiv-idaal,

                             have been.sued. Tlie court may decide against you                       being"heard uniess you
               below.
                 You have 30 CALENDAR DAYS,after this summons and legal papers are served on you to rile a written response at this court.anii have a copy
               served on the piaintiff. A letter or phone call will not protect you. Your writlen response must be in proper`legal form If you want the court to hear your
               case: There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts,
               Online Seff-Help Center (www:courtinfo.ca.gov/selfhelp), your county law Iibrary, or the courthouse nearest you. if you cannot pay the filing fee, ask
               the court clerk far a_fee waiver form: If you do no181e your response on time, you may lose the case by defauil, and your wages, money, and property
               may be taken.without further warning_irom the court.
                  There are other legal requiremerits, You, may want'to cail an attorney right away. If you do not,know an attarney, you may want lo cali an attorney-
               referral service. Ifyou cannot;afford an•attorney,. you may be eligible for free legal services from a nonprofit legal services program. You can locate
               these nonpro6l groups at the Galifornia-Legal Services Web site (woww.lawhelpcalilomia.org),-the "California Courts Oniine Self-Hetp Center
               ,(www courtinfo.ca.gov/selthelp), or by contacting your local court orcounty bar assoeiation. NOTE: The court has a statutory lien for waived fees and
                oosts on any settlement or.arbilration award of~10;000 or more in a civil case. The court's lien must be paid befoYe the court will dismiss the.case.
               iAVlSOI Lo han demandado. Sino responde dentro de 30 dlas, /a corte puede decidir en su'contra sin escirchar su versi6n: Lea la informacidn a
               continuacibn.
                 Tiene 30 DIAS DE CALENDARIO despu8s de qtre le entreguen esta citacl6n y papeles legales para pr'esentar una respuesta por escrito en esta
              corte y hacer que, se entregue una copia a/ demandante. Una carta o una llamada tetelbnica no io protegen: Surespuesta por escrito tiene que estar
              en formato legal con•ecto si desea~que procesen su caso en la corte: Es posible que haya uii formtulario que usted pueda usar para su respuesta.
              Ptrede encontrar estos formularios de 1a co'rte y mas informaci6n en el Centro d.e Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
              biblioteca de leyes de su coridado o en la corte que le,quede m"3s cerca. Si no puede, pagar la cuota de presenlacibn, pida al secretario de /a corte
              que le'de un formulario de exencidn de, pago,de cuotas. Si no preserita su respuesta a fiempD, puede perder el.caso porincumplimiento y la corte le
              podra quitarsu sueldo, dinero y bienes sin m6s advertencia.
                Hay olros requisitos legates. Es:recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
              remisi6n a abogados. Si no puede pagar a urrabogado, es posible.que cumpla con fos requisitos para obtener servicios legales gratuitos de un
              programa de servicios legales sin. fines de lucrro..Puede encontrar estos grupos sin fines de lucro en e/ sitio web de California Legal Services,
              (www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cottes de California, (www.sucorte.ca.gov) o ponitndose en contacto con la corte o el
              colegio de abogados loca/es: AVISO: Por ley, la corte fiene derecho a reclamar las cuetas y los costos exentos por imponer un gravamen sobre
              cualquierrecuperaci6n.de:$10;000 6 masde-valorrecibida medfante un acuerdo o uria concesl6n de arbitraje en un caso de derecho civil. Tiene que
              pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

             The name and address of the court is:                                                                          CnSE Nui7©eR:
             (EInombre y direcci6n cte la corte,es): Loos Arigeles Sttpet~iot' Court-Ceritt~al Dist;                        tNumero'del Caso):

              111 North Hil l Street                                                                                            2 2 0 T r,—"V 1 1 50 4
              Los Angeles, CA 90012
             The name, address, and telephone number of plaintift's attorney, or plaintiff without an attorney, is:
             (El nombre, la direccl6n y el nGmero de telcfono de/ abogado del demandante, o del demandante que no tiene abogado, es):
              Patricio Barrera, Barrera & Assoc., 2298 E. Maple Avenue, BI Segundo, Cal'ifornia 90245; 310.802.1500

             DATE:                                                      Sherri R. Carter Exec~~t~t~k ~ Of~lcer! CIerl~ of Caurt                                             Deputy
             (Feclia) 0 4I 05f2 0 22                                                 (Secretario)              R . CI fftD n                                               (Adjunto)
            (For proof of service of this summons, use Proof of'Service of Summons (form POS-010))
            (Para prireba de ent"rega de esta c'itatic5n use el formulario Proof of Service of Summons, (POS-010))
                                                          NOTICE TO THE PERSON SERVED: You are served
              [SEAL]
                                                          1. F_j as an individual defendant.
                                                          2.     as the person sued    der the fictiti us-name of (speci ):

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                 +     :~c'"t~ti~,~~ i - 1~,:~~. ~•.'.    3,   ~          onbehalfof (speci!Y).         ~~    ~~t2+     ~~                   I
                                                    Y
                                                               under: I~ I CCP 416:10 (Corporation)                0                  CCP 416.60 (minor)
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                 : .• •a i ~1 ,'~,i Y•F r~•~
               ;• ` ~''~i'v~'
                    ~r                   ~~..~                        0    CCP 416.20 (defunct corporation)        0                  CCP 416.70 (conservatee)
                                             _
                                              y:.                     [~   CCP 416:A0 (association or partnership)                    CCP 416.90 (authorized person)
                                               '
                                                                           0      other (specify):
                                                          1.        ]     by persorial deliVery on (date):
                                                               [~                                            C4 --A~ ~
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             Form Adopleil forMandalory Use
               Judicial Council of California                                                 SUMMON S                                             Code of Civil Procedure §§ 412:20, 465'
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              SUM-100 tRev. July 1. 20091
                       Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 3 of 52 Page ID #:15
Electronically FILED by         Court of California, County of Los Angeles on 04/05/2022 12~t1 PM ShQrri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk


                                        Assigned for all purposes to: Stanley Mos2k;2C
                                                                                     3Tou
                                                                                        Crtvh1o1u6s0e4, Judicial Officer: Teresa Beaudet




                           1 Patricio T.D. Barrera, (SBN 149696)
                               Jerciny H. Herwitt, (SBN 253 861)
                           2 BARRERA 8c ASSOCIATES, APC
                               2298 E. Maple Avenne
                           3   El Segiuido, Ca1'ifornia 90245
                            Telephone: :3 10;802,150.0
                          4 Facsimile: 310.802.0500.

                          5  Viiicerit Calderone (SBN 164672)
                             CALDERONE LA'4V I+IRM
                          6~ 2321 .Rosecrans Ave., -Suiter 1265
                             El Segundo; CA 90245
                          7 Telephorie: 424:348.8290

                          8 I Attorneys for Plaintiff Dr"agan Zaric

                          9

                       1.0 ,                              SUPIE, RIOR COURT OF THE STATE OI+' CALIFORNIA

                  ~                                                    I+.OR THE COUNTY OF LOS ANGELES

        ~~m~ 12
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          Qo~ 13 ~ DRAGAN ZARIC; an individi.ial;                                                          Case No.          2 2 S T CV `I 1 504
        d'a~~
        ~0     14           Plaintiff,.                                                                    PLAINTIFF'S; COMPLAINT FOR
          u;                                                                                               DAIVIAGES ALLEGING:
        ~ W ZN
          N  ~~
          N (~9 o 15
                a0                      yS:
                                                                                                            1. RETALIATION (FEI-IA/CFRA.);
              W       16 MICROSOFT CORPORATION; a                                                           2. DISABILITY DISCRIMINATION;
                               Washington. Coi•poration; and DOES 1 through                                 3. AGE DISCRIMINATION;
                      17 10, Inclusive,.                                                                    4..NATIONAL ORI'GINlt1NCESTRY
                                                                                                               DISCRIMINATION;,
                      I8                                                                                    5. FAtLURE TO TAKE ALL
                                                    Defendants.                                                REASONABLE STEPS TO PREVENT
                      19                                                                                       DISCRIMINATION AND
                                                                                                               RETALIATON; and
                      20                                                                                    6. WRONGFUL TERIvI1NATION.IN
                                                                                                               VIOLATION OF PUBLIC POLICY
                      21                                                                                       (Disability)
                      22                                                                                  DEIv1AND FOR,JURY TRIAL
                      23
                      24               Plairitiff Dragan Zaric, based upon personal lcnowledge as to all acts or events tliat Plauitiff
                      25 I has undertaken or witnessed, and upon information and belief as to all othets, alleges:

                      26                                                              INTRODUCTION
                      27               This case is brought under California's Fair Employ,nient and Housing Act (FEHA).
                      28 Deferidant Microsoft Corporation retaliated, and discriminated. against Plaintiff by considering


                                                                              `    COMPLAINT FQR DAMAGES
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                  1 PlaiiitifFs disavihty, age; and national origin Nvhen terminating Plaiiitiff, retaliating against Plaintiff

                 2. foi• -nialciiig complaiiits of discriinination and requestiirg anel using niedical leave duriiig his

                  3 I employment. Microsoft's stated reason for the termination is a pretext.

                 4                                                    PARTIES

                 5             l,      Plaintiff DRAGAN ZARIC ("Plaintiff' or "Zarie") is, and at all times herein was, an

                 6 I individttal residing in the County of Los Angeles; State of Cal'ifornia, and employed by Defenaant

                 7 I Mici•osoft:Corpotation in the Couilty of Los Angeles, State of California.

                 8             2..     Defendant MICROSOFT CORPORATION ("Microsoft" or "Pefendant") is and at

                 9 I all tiines herein inentioned was. a Washington Coi•poration conducting business within the County

               10 ( of Los Angeles, State of California aiid subject to the laws of Calforr2icr GolzerrVnaent Cocr'e §§12940
                      I et seq, and 12900 et. seq,

~?~~ 1:2                      3,       Plaintiff is.ignorattt of the true names and capacities of Defendarits sued as DOES 1
~ Z Qo
~¢ o"' 13 I through 1.0, iiiclusive, and th.erefore sues these Defendants by such fictitious na"mes. Plaintiff will
~ W       ~
  J   'J u-

  ¢       0
          Q 14        amend this complaint. to allege their true names anzi capacities when ascertained. Plaiiitiff is
  w g .-~
  N ~~ 15
  N       CD
                      informed.and believes; and alleges that,each of the fictitiously narned Defendants is i•esponsible for
      ~
      w        1~-6   the, alleged occurtences and injuries _to Plaintiff.

               17             4.      Plaiiitiff is infoimed, believes, and alleges that, at all tiines lierein meritioned,

               1-8    Defeiidants,:ancl eacli of'tlieni, were the ageixts or eniployees of each of the other Defendants, and

               1`9    in doing, tlie things hereinafter alleged, were acting within the course and scope of sucli agency

               20 and/or eniployment.and with the permission and consent of his/her co-Defendants., All of the named

               21 defendants may be collectively referred to lierein as "the Microsoft Defendaiits."
               22                                        VENUE AND JURISDICTION

               23             5.      Venue iS proper tinder Cocle of Civil Procedirre §395, and under the FEIIA,

               24 Plairitiffs inj-uries occur"red witliin this jurisdiction, and the aetions that give rise to Plaintiffs

               25 coniplaint arose withiii tllis jurisdiction.
               26                        LiXHAUSTION OF ADMINISTIZATIVE PROCEEDINGS

               27             6.      Plaiiitiff exhausted his administrative reniedies by filing complaints, for

               28 discrimination, retaliation and related claims under Califoinia's Fair Eniployment. and Housing Act


                                                            COMPLAINT.FOR DAMAGES
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                 1 (the FEHA) witli the Califoi`nia Department of Fair Employment and Housitig oir Marcll 30, 2022

                 2   aiid thereafter, receiving "riglit to sue" notif cations on Marcli 30, 2022. `I'hus, Plaintiff has duly

                 3   exhausted all of the renuired adniinistrative proceedings aiid now pr.opeily files this Complaint for

                 4 Damages.

                 5                         I+ACTS COMMON TO ALL CAUSES OI+ ACTION

                 6           IVlicrosoft's Background

                 7           7.     Defeiidant Mici•osoft Corporation is an Ainerican inultinational technology

                 8   corporation which produces computer software, consumer electronics, personal computers; and

                 9   related services. It is best kiiown for its 1Vlicrosoft Windows line of operating systems, the Microsoft

               10 Office suite, aiid the Internet Explorer and Edge web browsers, along with the Xbox video game

          0          console. Microsoft routinely ranks in the top"25 conipanies in the Fortuiie 500 rankings ofthe largest

~ ~~~ 12. domestic corporations by total annual revenue and globally, it is one of the largest software makeis
OZQ o
0
rn ' ~
     0Z 0 13 by .revenue. It is considered one of the "Big Five" Ainerican information technology conipanies.
u~W       ~
         c)a 14      In April 2019, Microsoft reached the trillion-dollar market cap; becoming the third U.S. publlC
         ~
     w g .-
     ~=o
     N (9 00
             15      conipany to be valued at over'$1 trillioii. As of 2020, Microsoft has the third-highest global brand
     N   W O

         W~ 16       valuation of any company.
c~        w
               17           8.      Microsoft operates nationally.and globally, with multiple "canipuses" worldwide. Its

               18 campus in Mo.uiitain View, California houses thousands of Mici•osoft employees, witli plans to

               19 further expand that campus on a significant scale. Microsoft employs thousands of employees

               20 tlu-ougliout California, including within Los Angeles County.

               21           9.      Mictoso"ft is, and at all relevant times was, a covered employer under the FEHA,

               221I codified at Ccalifornia Go>>ernnaent Code § 12926(d). As alleged below, Microsoft placed Profits

               23 Over Older People ("POOP") when teriniriating Plaintiff. Microsoft tlierefore has engaged in

               24 POOP.

               25           Plaintiff's Backg_round

               26           10.     Plaintiff Dragan Zaric is a 61 year-old iiidividual who was first eniployed by

               27 Microsoft in or about Jtily of 2018.      Plaintiff was borti in Serbia and attended the University of

               28 Belgrade, wliere he attaiiled a masters degree in Electrical, Electronics, and Commuiiication"s

                                                                       3
                                                         CQMPLAINT FOR DAMAGES
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                    II Engineei?iiig. H'e _speaks Englisli as liis second -language and, with an accent. 1Ie immigrated to tlie
                    11 United States in 19,89.
                             1l.     Plaintiff was hii•ed ancl w&ked for Microsoft as an Account Deliveiy Executive
                     ("ADE").       At all times during Plaintiff.s 3%2 years of employment witli Microsoft, Plaintiff

                     performed his dttties and responsibilities iYl a positive and excmplaLy mamier. Plaititiff thkew

                     hunself into his work at Microsoft, r`egularly worlcing lozlg hotu•s to elisure that lais worlc. was.

               7     completed atid his project tiiilelines, budgeting, and revenue forecasts wei•e inet.

                8            12.     Prior to joining Microsoft, Plaintiff worked for many years with other infortnation

               9     teeluiology and/or soflvvare companies, wliere he specialized in customer soltitions project-sales and

             10 iinplernentation. PlairitifPs .continued success in his field lecl to :Microsoft's pursttit of him as a
         g 11        candidate for eniploynieiit: Plaititiff ultimately accepted his ADE position at Microsoft ptu•suant to
      Lr>
~       ~
~ u,im C":) 12       a liicrativc offer of salary "and,company stock options.
C)Z ¢ o_
     a "'
v0iQ o~      13              Facts.EstablishingPlaititiffs Pi•otected Activity and Uefcndants' Wiongful, Discriminatory,
      a.
             14              Retaliatoiti, and Illegal Conduct Giving Rise to This CoLiplaiiit,
        ~
~ °ZN 15                     13.     Because of his initial success in his work for Microsoft, Plaintiff was assigned to a
  N (_.~ W
    N. W O
      `
      W~ 16          large, strategic pursuit for Microsoft's corporate custonier; Wells Fargo, for which Microsoft hacl
~
        ~w
             17 budgeted $8 million in service revenue. In 2019 and continuing tlu•ough, the, third quarter of 2020,
             18 Plaintiffs work effoits and perforinance were primarily .focused on the Wells Fargo project.
             19 Plaintiff xvorked tirelessly for nearly a, full year with the Microsoft account,team to define, scope
             20.    and, propose the services engagernent to Wells Fargo before the deal coiild be confirnied and

             2.1.   finalized. Plaintiff and. his team were, finally able to finalize the terms of Microsoft's contract with

             22 Wells Fargo in 'June of 2020.
             23              14.     As a result of the interisi've focus on the presale efforts for the Wells Fargo project,

             24 Plairitiff's billable utilization during 201.9 and the first. half of 2020 was artificially .low; as he did
             25 iiot have the .opportunity to work on many otlier billable projects during tliat time. I3owever,
             ~r     Plaintiffs manager during tliatperiod, Tracy Kasemeier, understood and memorialized in Plaintiff's.

             27 performance reviews that, althotigh some of Plaintiff's performancc inetrics in the first quarter of
             2$ 2020 were low, this rvas directly attributable to the substantial pre-sale work-up he liad lieeii requited

                                                                       4
                                                          COMPLAINT FOR DAMAGES
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                1 to perforni on the Wells Fargo liroject, and the non-billable time invested by Plaintiff on tlie project

                2 would tiltimately generate substantial revenue for Microsoft once the Wells Fargo project entered

                3 its billable pliase. In that regard, Kasenieier approved of the relative short-teini investnient of
                4 Plaintiffs nori-liillable. time in favor of the long=terni fiiiancial benefit that Microsoft would reap

                5    froin the. project. PlaintifP also eapected to eai•n substantial incentive conipensation in his work for

                6 Microsoft once the WeIls Facgo project entered its billable phase and vegan pioviding its 7-figure

                7 i•evenue sh•eam to Microsoft. The Wells Fargo liroject ultiiriately entei•ed its billable phase in July

                8    of 2020.

                91          15.     In or about the end of May of 2020, Kasenieier moved. to another position and ceased

               101I being Plaintiff s managei'.

           0 11             16.     Unforthmately, as it happens to many older workers, Plaintiff's body started to break
      Lo LO
~      q C~
      ~~ 12 down. In Aiigust of 2020, approainiately one nionth after tlie Wells Fai•go project that Plaintiff liad
U Z ¢o
~Qo"' 13             been raniping up for over a year etitered its billable pliase, Plaintiff was diagnosed with a life-
~   W L- ~
    J ,J

~3~        0 14      tlu•eatening heart condition that required him to proniptly undergo suTgery to correct it. After his
      oLo
        _
~   CO Z
      N 15 diagnosis; Plaintiff infoiTned Microsoft's Managenient and Human Resources about Plaintiff's
    N~~
    N w ci

      W~ 16 disability and;his-need for time off to receive medical treatnient.

              17            17.     In or about Septeniber of 2020, Plaintiff informed his managers at Microsoft that he

              18 would be under.going open heart surgeiy in Octobei 2020 and that he would require time off fi•oin
              19 work for medical treatment and recovery. At the time Plaintiff disclosed his disability to Microsoft,
              20 Plaintiff was and had been a loyal, productive member of the Microsoft team.
              21            18.    In or about early September of 2020, and just prior to Plaintiff undergoing open heart

              22 surgery, Ivliciosoft assigned a new manager, Jiin Lutz ("Lutz"), as the supervisor of Plaintiff's team,
              23 and Plaintiff began reporting to Lutz.
              24            19.    In October of 2020, Plaintiff took medical. leave to undergo open heart surgery. In

              25 connection with Plaintiff taking niedical leave, Lutz brouglit over one of PlaicitifPs peei•s, a younger,
              26 Ariierican-born male with no kiiown disaliilities or significant liealth liistoiy, allegedly to fill in for
              27 Plaintiff on the 'Wells Fargo account while Plaintiff was on disability leave. Plaintiff timely and
              28 propefly completed all his niilestones on tlie Wells Fargo project.prior to going on disability leave.


                                                         COMPLAINT FOR DAMAGES
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                   1            20.     At tlie end of November 2020, approximately six (6) weeks after unciergoing heart.

                   2 11 surgery, Plaintiff returned to worlc fi•om his meclieal leave. Plaintiff.returned to worlc earlier tliati

                   3 11 expectecl and against his owm doctoi-'s recomniendations in order to resunie his work on the Wells

                   4 11 Fargo project as quickly as p.ossible.

                   5            21.     Despite Plaintiff's steadfast dedication to the Wells Fargo project and his exeinplary

                   6 II perforinance in advancing that project prior to his medical leave, when Plaintiff returned to work

                   7 II fi•om leave, Lutz informed Plaiiitiff that he haci been taken off Wells Fargo account "because [liis]

                   8 11 successor was a better fit." The individual Lutz assigned as Plaintiff's successor on the Wells Fargo

                   9 I account, the substantially younger Anierican-born worker 4vith no kiiown disabilities that liad been

                 10 I covering the account during Plaintiff's disability leave, was a close friend of Lutz's.
           g 11                 22.    Plaintiff profoundly disagreed witli Lutz's discriniinatoiy clecision to take liim off an
      to    U)
~          0

~ Wrn ~          12      account he had been worlcing on and developing for 2%2 years, ancl reasonably believed that Lutz's
U Z ¢o
r~n ~ '-
       z " 13           decision to do so was wrongful and the result of discriminatory and retaliatoiy aniinus against liini.
U1w°8
~i a Q ,
~3~~ ~g 14              Lutz's decision to remove Plaintiff froni the Wells Fargo account also negatively impacted Plaintiff
  w g .-
    ~~o
    N (!) c0 15
                        fnancially, as Plaintiff wotild no longer receive his bonus for the revenue that was ultimately
    N W O

      J "'
      W ~        16 achieved on the account, which was the result of the years of Plaintiff's hard work on the account

                 17 to finalize the deal and get the project successfiilly undaway.
                 18             23.    Plaintiff asked Lutz for a detailed explanation of wliy he was taken off the Wells

                 19 Fargo account. Lutz took nearly a nionth to respond with his justification, which consisted of only
                 20 generalized unsupported and false statements criticiziilg Plaiiitiff's performance. Prior to Lutz
                 21 becoming PlaintifPs nianager, Plaintiff consistently received praise for his perforniance at
                 22 Microsoft. Plaintiff responded to Lutz to push back on the misrepresentations made by Lutz and
                 23 denied the false claims Ltttz had made regarding his prior job performance
                 24             24.    In the ensuing months, Lutz then proceeded to outwardly display animosity toward

                 25 Plaintiff, continually and unjustifiably scrutinizing and criticizing his performance, while also
                 26 harassing Plaintiff and liumiliating him at any sign of a possible challenge being presented on one
                 271 of his accounts/projects.
                 2811           25.    At the beginning of March 2021, almost two inontlis befoi•e the next performance

                        --                                               6
                                                            GOMPLAINT FOR DAMAGES
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                  1 review cycle; Lutz callecl Plaintiff to state that Plaintiff would be receiving a very poor performance

                  2    review because his billable utilization was low and that it was best for Plaintiff to look for ariotlier

                  3    job. However, Lutz had only assigned. Plaiiitiff to one active project after Iiis retui•ti froni medical

                  4    leave, aild as a result, there was no way for Plaintiff to iniprove his utilization metric without being

                 5 provided adclitional work. Lutz's veiled retaliatory threat of terniination to Plaintiff placed Plaintiff
                 6 in a.state of substantial physical. atid emotional distress.
                 7            26.      Por Plaintiffs April 2021 performance i•eview Lntz first attempted to give Plaintiff

                 8    a poor review that was .false and pretextual. Plaintiff coniplained about the i•eview to the manager

                 9    above Lutz, Chris McCarthy ("McCarthy"), indicating that Lutz was placing false information in

                10 his review to purposely drag down liis performance rating and that he was being wrongfully targeted
          0 11        by Lutz. Only after Plaintiff escalated the issue to McCarthy did Lutz given. Plaintiff a sliglitly
~      LO~
         0
       N N       r~
~    WQ~jp~p    12    better review.
UZ Q o
mQ~"' 13.                     27.      Plaintiff continued to perfortn in exemplary fashion fi•om April 2021 to Septeniber
v~W°LL
~ a~~
~~             14     2021, and Plaintiff's results and business impact were noted in his Septeniber 2021 performance
    'CO)
~    [o"Z(V     7~
     N (9 a0 1        ,review i•eport. However,. Lutz i•eniained intent on giviiig Plaintiff a poor performance revieNy, and
     N WO
       ~ —
       W~ 16          in pursuit of that goal, Lutz fabricated two incidents to drag down,Plaintiff's performance rating and
        ~
pa      ~
               17 gave Plaintiff an "Insufficient Results" review. Ltitz iniproperly..gave Plaintiff a"zero rewards"
               18 I i•eview, wliich deprived Plaiiitiff of inerit-b.ased .incentive compensation and impaired Plaintiff's
               19 ability to migrate to other positions witllin ivlicrosoft.
               20             28.      Plaintiff again rejected Lutz's review of his performance and the intentional

               21 miscliaracterizations Lutz included in it. Plaintiff again complained about the review to Lutz's
               22 manager, McCarthy, who rejected Plaiiitiff s concerns.
               23            29.       Plaintiff escalated liis complaints regarding Lutz's wrongfiil review of his

               24 ~ perfonnance to Microsoft's I-Iuman Resources. Plaintiff reg'istered a forinal Rebuttal Letter in the

               25 HR system that documented his coinplaints. In connection with his rebutta.l, Plaintiff also' initiated
               26 a complaint of discriiriination with Mici•osoft'.s HR. However, IIR conducted a perfunctoiy and
               27 inadequate investigation, whereupon it concluded that Plaintiff had not been subjected to
               28 discrimination.


                                                                        FOR DAIviAGES
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                             30.     Plaintiff continued to deliver a great perfonnanee after ;September 2021, wJhich was
                     again documented on the draft he rec.eived of his January 2022 perfoi•mance review. Plaintiff
                     exceeded his goals and metrics; which was documented duriilg the cotirse of his 1-to-1 mectings

                     with Ltrtz. Lutz rilade rio requests for impi~ovement by Plaintiff during that period. At no point

                     while Lutz was: actiiig. as Plaintiff's manager did he ever place Plaiiitiff oji a performance

                     improvenieiit plan or otlier such performance acti.on plan.

                            31.     Pla'intiff was "scheduled to: meet telephonically with Lutzo on Jantrar•y 27, 2022.

                     tegarding .his January 2022 perfoi•rnance review. In fiirtherance of that meeting, Plaintiff prepaxed

                 9   a very detailed report of his perforinarice outliniilg his great restilts and impact, Nvhich included

                10 overvvhelmin'gly positive feedback froni the Microsoft internal stalceholders with whom Plaintiff
         il had been working regularly:
   LO o
      W.
~ ~~
~ W~~. 12          32.   On January. 27, 2022, Ltttz joined the teleliliorie meeting. with Plaititiffaccompanied
OjzM
U1 ¢
       o
               13 by a Microsoft HR represeiltativ.e, and abruptly proceeded to terminate Plaintiff, allegedly for his
~W~-u
       a.
      Q 14'          performance not meeting "minimuni performance standards," but witllout ever disciissing Plaintiffs
 wCr
 N (9 ao 15
~~Zo                 Jarivary 2022 p'erfoi:mance review. Plaintiff's call with Lutz and H1Z lasted less than five (5)
     N ui ~
       ~M
       w~ 16 minutes. Lutz and Microsoft wrongftiIly terniinated Plaintiff, baseci ori his disability, his age, his
p4         w
               17 national origin/ancestry,liis complaints,'and his requests for and use of inedical leave.
               18           33.     I3y wroiigfrrlly giving Plaiiitiff zero rewards aiid poor p.erformance reviews, Lutz

               19 impaired the possibility. of Plaintiff transferring to aiiother job- within Microsoft and otherwise
               20 advancing within the coriipany,, which. was knoivri to Lutz at all relevant times. Plaintiff had
               21 intetviewed .for several operi positions within Microsoft and ivas given an initial offer for another
               22 position, only to have the offer eetracted:after the hiring manager discovered, that Plaintiff liad been
               23 flagged as "ineligible foi: transfer."
               24           34.    Plaintiff -,vas terminated itom his employment for false and pretexttual reasons. Lutz

               25 preniised his decision to terminate Plairitiff on his claini of Plaintiff's poor performance, whieh was
               26 kriown by Lutz to be untrue at all relev.atit times. The truth is that Mici•osoft, through Lutz,
               27 considered Plaintiff's age, disabilitp, and national origin in making the termination decision. In fact,
               28 Microsoft lias retained,,and/or has hired, less qualifred, stibstantial.ly younger,.non-disabl"ed workers

                                                                      R
                                                           COMPLAINT P'OR DAMAGES
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                 1 to perform Plaintiff'sjob'dutiies. Siniilarly situated eniployees, wlio are substantially younger than

                 2. Plaintiff and who were.not dealing with a disability and/or requesting medical leave, were iiot f red.

                 3    Microsoft was considering the long-term financial iiiterests of the Conipany Nvithout paying any

                 4 regard to Plaintiff's civil rights wlien Microsoft wrongftilly terniinated Plaintiff.

                 5             35.     Plaintiffys disability, age, national origiii%ancestry, request for .and use of inedical

                 6    leave, and complaints of discriniination against Lutz were separately or together a substantial

                 7 inotivating reason for Microsoft's decision to terminate Plaintiff from his job after 3+ years at

                 8    Microsoft Corporation: Defendaiits' actions, as alleged hei•ein, constitute unlawful discrimination

                 9    and retaliation, in violation of California statutoiy and tort law.    D:efendants' actions, as alleged

                10 liereiii, have caused harm to Plaintiff as set forth in greater detail below and as will be established
                     I in greater detail at the tinie of trial.
        ~
       ~~
~Wm~ 12                       36.      As a result of being wrongfiilly tei•niinated for discriminatoiy and/or retaliatory
QZ Q o
~_Q ~                reasons, Plaintiff has lost wages and liis coinpensation package inchiding iinportant niedical and
       ". 13
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~3<        g 14 fiealth insurance benefits; arid the like. Plaintiff has suffered, financial distress. Plaintiff lost his
       0
     00-
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     N
         ;~ 15 dignity and self-esteem, and has expei•ienced physical injuiy, illness, and emotional distress as a
       w C;
       WJ 16         result of Defendants' wrongfiil conduct.as described herein.
P~         ~
               17                                       FIRST CAUSIG OI+' ACTION
                                                      RI;TALIATION (FEIWCFRA)
               18                    (As Against Defendant Microsoft Corporation; and DOES 1 tlu•ough 10)
               19             37.      Plaintiff hereby incorporates ,and realleges by reference all paragraphs enumerated
               20 ( above and each and every .part thereof; of this Coiiiplaint, with the same force and effect as though
               21 I set forfh.at length herein..
               22             38.      The FEHA bans retaliatioii against an individual that complains of discriinination
               23 and against an individual with a disability who requests time off because of a disability. GoWI Code
               24 §12940(h) &(m)(2). Furtlier, tlle CFRA bans discriniination and retaliation against an employee
               25 that requests and/or uses medical leave. Gov't Code §12945.2(k). California law recognizes that
               26 employers such as Microsoft may not retaliate against an employee 'because the eniployee
               27 eomplained of diserimination, toolc tinie off from worlc in the form of a reasonable aeeommodation
               .28   and/or approved inedical leave, or reqtlested to be reasonably accommodated and/or to talce medical


                                                                  COMPLAINT FOR DAMAGES
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   1 I I leave.

  2                39.    The retaliatory actions of Defendant .Microsoft against Plaintiff, as niore fitlly set

  3    forth above, include retaliati:on against Plaintiff because Plaintiff complained regarding the

  4 discrimination against him by liis supei•visor Jim Lutz, and exercised his i~ight to request time off

  5    from work to care for and recover froni liis disability (lieart surgeiy). Plaintiff liad a.target on his

  6    bacic and was a candidate for retaliation after fii•st being diagnosed witli a lieai•t condition and taking

  7, tinie off fi•om worlc to have and recover fi•om heart surgery, followed by liis later complaints
  8    regarding the discriniination being perpetrated against hini by his biased stipervisor. Plaintiff was

  9 protected fi•om retaliation under the FEHA and CFRA.

 10               40.    Plaintiff experieneed retaliation in violation of the FEHA, codified in California

       Governnient Code §12940(li) &(m)(2), becatise he was subjected to adverse eniployment actions

       after lie complaiiied regardiiig discriniinatioti being perpetrated against. hini by liis supervisor, he

       notified Microsoft of his disability, and lie requested reasonable. acconimodations, including tiine

      off from work to cai•e for and recover froni his disability, and tlie riglit to return to work.

                  41.    Plaintiff experienced retaliation in violation of the CFRA, codified in California

      I Government Code §12945.2(k) because he requested and took medical leave as authorized under

      I the stattite and was subjected to discriiiiination and adverse eniployinent actions by Microsoft in

18 I response.
19                42.    As a proximate result of the acts of Defendant, as described above; Plaintiff suffered

20 economic dainages, including lost wages and b.enefits, and other compensatoiy damages in an
21 amount .to be ascertained. at the>time of trial.
22                43.    As a fui•ther proaiiriate result of the aforenientioned acts of .Defendant, Plaintiff has

23 suffered htumiliation, niental anguish, anxiety, stress,. depression, atid emotional and physical
24 distress, and has been injured in body and mind all to Plaintiffs damage in an amount to be
25 ascertained at the time of n•ial. As a proximate result of the acts of Defendant, as alleged above;
26 Plaintiff has suffered physical and mental injuries and has necessarily expended sums in the
27 ' h•eati7ient of such injuries, all to Plaintiff s damage in an amount to be ascertained at the time of h•ial.

28 As a fiu•ther, proxiinate result of the acts of Defendant, as alleged above, Plaiiitiff will necessarily


                                              COMPLAINT f'OR DAMAGES
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                   1 I I continue to expend sunis in tlie fiiture for the.teeatnlent of the pliysical, eniotional and mental injuries

                   2. I sustaiiied by Plaintiff as a restilt of said Defendant's acts in an amount. to be ascertained at the tinie

                   3 I .of trial.

                4.                  44.     As a direct and proximate restllt of the above-describecl acts of Defendant, Plaintiff

                5 I has necessarily incurred attorney's fees and costs and; pursuant fio the provisions codified in

                6 I California Govermnent Code Section 12965(b), Plaintiff is entitled to the i•easotiable value of sucli

                7 I attoiney's fees.

                8I              45.         The above-descr:ibed unlawful conduct of Defendant, whicli was perpetrated,

                9     authot•ized, and/or ratified by its officer(s), dii•ector(s), and/or nianaging agent(s), was willfiil,

               10 intentional, and malicious aiid done witli tlie. intent to vex, injure and annoy Plaintiff; and was done
(b
t        -o    11     in conseiotis disregard of Plaintiff.s rights, and, thus, Nvaii•ant the imposition of exeinplary and
       ~o
~ W ~,
    ~~ -c~ 12         punitive damages in an ainount sufficient to ptrnish said Defendaiit and to deter otliers fi•om engaging
U w ~o
~Qo~ 13~ in similar despicable condtict. '
mW!L, L
d'aQ.
               14'                                         SECOND CAUSE O"F ACTION
     w o_
     a0 Z N
                                                      DISABILITY DISCRIMINATION (FEI-IA)
     N ~~ 15                              (As Against Defendant Microsoft Corporation;, and DOES, 1 tluough 10)
     N ~~

       WJ 16                   46.         Plaintiff incorporates and realleges by reference all previous paragraphs, and each
~        w
              171 and eveiy part thereof, of this Complaint, with the same force
                                                                                 and effect as though set forth at length
              18 hercin.

              19               47.         California Government Code § 12940(a) provides in pertinent part that, "It shall be
              20 an unlawftil einploynient practice ...[fJor an einployer, because of ... physical
                                                                                                   disability. ..medical
              21     condition... to discliarge the person fi•om employnient ... or to discriininate against the person ...
              22 in terms, conditions, or privileges of employnient."

              23               48.,        As: of 2020, Plaiiitiff suffered fi•oni a qualified disability, a heart condition, which
              24 required surgery and medical leave: Plaintiff disclosed his disability to his
                                                                                               employer, Microsoft.
              25 After Plaintiff disclosed his heart condition atid need. associated need for
                                                                                              surgeiy to Microsoft, and
              26 then took medical leave in order to undergo and recover fi•om surgery, Plaintiff
                                                                                                  was harassed and
              27 subjected to undue scrutiny and false criticisni by his biased supervisor,
                                                                                            and was ultimately
              28 terminated fi•oni his employment with Microsoft for a false and pretexttial
                                                                                             reason. This Cause of

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                                                                COMPLAINT FOR DAMAGES
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                   1   Action stems fi•om Defendant:s discriminatoiy terniination ofPlaintiff after Plaintiff disclosed his

                   2 disability, and toolc niedical leave, during whicli he received cai•e for it.
                   3          49.     As a proximate result of tlie acts of Defendarit, as described above, Plaiiitiff suffered

                   4 economic damages, including lost wages aiid beneftts, and otlier compensatory daniages in an

                5 amount to be ascertained at the time of trial.

                6             50.     As a furthei• pi•oximate result of the aforementioned acts of Defendant, Plaintiff has

                7 suffer•ed htimiliation, mental anguish, anxiety, stress, depi•ession, and emotional and pliysical

                8 distress, and has been injured in body and niind all to Plaintiffs dainage izl an amount to be

                9 ascertaitied at the time of trial. As ,a proximate result of the acts of Defendant, as alleged above,

              10 Plaintiff has suffered physical and mental injuries atid has necessarily expended sums in the

      0 11 treatment of stucli injufies, all to Plaintiffs damage in an,amount to be ascertained at the time of.trial.
~ ~a
~,,, ~~ 12 As a fiu•tlier proximate result of the acts of Defendant, as alleged above, Plaintiff will necessarily
  M)
~ Q o~ 13 continue to expend sunls.in the ftiture for the treatment of the physical, emotional and mental injuries

~~ ~ 0 14 sustained by Plaintiff as a result of said Defendant's. acts in an amount to be ascertained at the time
  w g LO
~ N ~ ~ 15 of trial.
    N   ~O
        w 'o 16              51.      As a direct and proxiniate result of the above-described acts of Defendant, Plaintiff
~         w
              17 lias necessarily incurred attorney's fees and costs and, pursuaiit to tlie pi•ovisions codified in

              18 Califoriiia Goveriunent C,ode Section 12965(b), Plaintiff is entitled, to..tlie reasonable value of such
              19 attorney's fees.

              20             52.      The above-described unlawftil conduct of Defendant, wliicli was perpetrated,

              21 atithorized, and/or i•atified by its officer(s); director(s), and/or managing agent(s), was willfiil,

              22 intentional, and malicious and done with the intent to vex, injure aiid annoy Plaintiff; and was dotie
              23 ii1 conscious disregard of Plaintiffs riglits, and, thtis, warrant the imposition of exeniplary and
              24 punitive damages in an amount sufficient to punish said Defendant and to deter oth.ers fi•om engaging
              25 in sirnilar despicable eonduct.
              26                                      THIRD CAUSF OF ACTION
                                                    AGI+~ DISCRIMINATION (FDHA.)
              27                    (As Against DefendantMicrosoft Corporation; and DOES 1 througli 10)
              28             53.     Plaintiff incorporates anci realleges by reference all previous paragraphs, and eacli

                                                                        12
                                                           COMPLAINT FOR DAMAGES
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                   I I and every part tliereof, of this Complaint, witli the sanie force and effect as tliough set forth at lengtli

               2 I I lierein.

               3                54.    Defendant Microsoft is an "eniployer" witliin the nieaning of and. subject to

               4 II Calrfbrraict Govern»aent Code§ 12900 et seq., eonimonly referred to as the Calforwica Fcrir
               .5 II Employnneiat crnd Housingflct ("FFHA")
               6                55.    Ccrlifor»ia Go>>er►arrle»t Cocle § 12940(a) provides in pertinent part tliat, "It shall be

               7 II an unlawful employment practice ...[f]or an eiriployer; because of ... age... to discharge the person
               8 fi•om eniployment ... or to discriminate against the person ... in terins, conditions, or privileges of
               9 employment." This Cause of Action stems fi•om Defendatit's discriminatory termination of
             10 I Plaintiff's employinent by Defendants diie to Plaiiitiff's age. Plaintiff was 61 years old, and
      g 11 I protected from discrimination based on his age, at the time his eniployment was terniinated.
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~ Wm~ 12             56.   California has a strong public policy interest in protecting eniployees that work in
U ZQ o
0 ao~ 13 California fi•om discrimination on accoiult of age. For instance, Goveriunent Code §12941 provides
Q'a¢ ~
         0 14 as follows: "The Legislature fin•ther reaffirms and declares its intent that tlie coucts interpret the
     w ~~
       a
     N 0 a0 15
     ~_~       state's statute proliibiting age discrimination in employment broadly and vigorously ... atid witli
     N W O

       WJ 16 the goal of not only protecting older workers as individuals, but also of protecting older «7orlcers as
A~       w
             17 a group, since they face unique obstacles in the later phases of their careers."
             18                 57.    California law also recognizes that the use of salaiy as the bas'is for differentiating

             19 I between employees when terininating employment inay be foiind.to constiti.tte age discriniination.
             20 I Govt. Code § 12941.
             21             58.        Defendants elected to terminate Plaintiff, a hard-working, higher salaried and older

             22 einployee.            During his employment with Microsoft while he was on disability leave, t11e primary

             23 project toward which Plaintiff liad ciedicated years of effort was reassigned to a substantially
             24 younger einployee, who then kept the project after Plaintiff reh.irned from disability leave. After
             25 Plaintiff was terniinated fi•om his employment, his duties and responsibilities were given to
             26 sLibstantially younger employees. Similarly sitLiated employees, wlio are substantially yotinger than
             27 Plaintiff, were not firecl and did not have their job perforinance subjected to the undue.scrutiny and
             28 false criticisni Plaintiff was forced to endure. Defendants proceeded to recrnit and hire replacement

                   _                                                     13
                                                            COMPLAIN7' FOR DAMAGES
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                      workers as Account Deliveiy Executives wlio are believed to be substantially younger than Plaintiff.

                 2    Tlius, the stated reason is pretexttial.

                 3             59.    The discriminatory actions of Defendants against Plaintiff, including, but.not limited

                 4    to terniinating Plaintiff fi•oni Plaintiffs eniploynicnt due to Plaintiffs age, constitute unlawftil

                 5    discrirnination basecl oii age in violation of FEIIA, codificd in Califor»ia Government Cocle §

                 6 II 12940(a).

                 7            60.     As a.proximat"e Yesult of the acts of Defendants, as described above, Plaintiff suffered

                 8 II ecoiiomio damages, including lost wages and benefits; ancl otlier compensatoiy damages in an

                 9 I ainotint to be ascertained at the time of trial.

                10            61.     As a further proximate result of the aforementioned acts of Defendants, and eacli of

       0             them, as alleged above, Plaintiff has suffered humiliation, mental anguish, anxiety, stress,
      ~V)
~ W~~ 12             depression, and emotional and physical injury or illness, and has been itijtred in body anci mind all
UZ ¢ o
 Qo' 13              to Plaintiff s damage in an amount to be ascei•tained at the tinie of trial. As a proximate result of the
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          .     14', acts of Defendants, and each of them, as alleged above, Plaintiff has suffered pliysical and nienfial
    wo LO
    co
    N ;~ 15 injuries and lias necessarily expended sums in the treatinent of such injuries, all to Plaintiffs damage
    N ~ ~

     W J 16    in an amount to be ascertained at the time of trial. As a ftu•ther proximate result of the acts of
~         W
          ~ 17 Defendants, and each of them, inclus'ive, and each of tlieni, as alleged above, Plaintiff will
               181I riecessarily continue to expend sums in the ftittu•e for the treatment of the physical, eniotional and

               19 I mental injuries sustained by Plaintiff as a result of said Defendants' acts in an alllollIit to be
               20 I ascertained at the time of trial.
               21             62.    As a direct and proxiniate i•esult of the above-described acts of Defendants, Plaintiff

               22 lias necessarily incurred attorney's fees and costs and, pursuant to the provisions of Califoriaia
               23 Government Code §12965(b), Plaintiff is entitled to the reasonable value of such~attorney's fees atid
               24    costs.

               25             63.    The above-described unlawfiil conduct of Defendant, whicli was peipetratect,

               26 authorized, and/or ratified by its officer(s), directot•(s), and/or nianaging agent(s), was willful,
               27 intentional, and malicious and done with the intent to vex, injure and annoy Plaintiff; and was done
               28 in conscious disregard of Plaintiffs riglits, and, thus, warrant the imposition of exemplary and


                                                           COMPLAINT FOR DAMAGES
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                   1 I I punitive daniages in.an aniount sufficient to punisli said Defendant and to deter otliers fi•oin eiigaging

                   2 11 in sitnilar despicable conduct.

                   3                                    I+OURTH CAUSE OI' ACTION
                                       NATIONAL ORIGIN/ANCESTRY DISCRIMINATION (I+EHA)
                   4                  (As Against Defenclant Microsoft Corporatioii; and DOES 1 througli 10)

                   5           64.      Tlie allegations set forth in the foregoing paragraphs are realleged and incorporatecl

                   6 I I lierein by reference.

                   7           65.      Califoriiia law pi`ohibits disci•iniination in the workplace, including discrimination

                   8   against workers on the basis of their national origin, or ancestry. The FEHA protects workers wlio

                   9' have been teeated unfairly or were the victims of national origin/ancestry ciiscrimination. As set

                 10 forth in greater detail above, Defendants are charged witli discrimitiating against Plaintiff and using

            0          Plaintiff's Serbian national origin/ancestiy as a motivating factor in the termination of Plaintiff.
            LO
         to 0
    ~~ 12 Plaintiff has requested and received "riglit-to.-sue" iiotices fi•om the Departnient of Fair Employment
U Z ¢o
0                      and Housing under the FEIIA to sue Defendants for discrimination on the basis of national
  Qo"' 13
~W~_ LL
     a¢
      ~.
~}<        g 14 origin/ancestry. As alleged above, Microsof$ treated Plaintiff differently than liis peers and otlier
     w 0o ~
          ~

     N ;~ 15 employees wlien it came to performance evaluations of similarly sitttated eniployees.
     N   N O

         W~ 16                 66.     Plaintiff is infornied and believes and thereon alleges that the stated reason for his
P~         ~
                 17 I termination was pretextual and that a motivating factor in his wrongfiil termination by Defendants

                 18 I was disctimination on the basis of Plaintiff's national origin/ancestry..

                 19            67.     The discriminatoty actions of Defendants against Plaintiff; including, but not liniited

                 20 I to terniinating Plaintiff fi•om Plaintiffs employnient due to Plaintiff's national origin/ancestry,

                 21 I constitute unlawfiil discrimination based on national origin/ancestiy in violation of FEIIA, codified

                 22 I in California Go>>ernrrrent Cocle § 12940(a).

                 23            68:     As a proximate result of the acts of Defendants, as described above, Plaintiff suffered

                 24 I econoinic damages, including lost wages and benefits, and other compensatory damages in an

                 25    amo.unt to be ascertained at the time of trial.

                 26            69.     As a ftu•ther proximate result of the aforeirientioned acts of Defendants, and each of

                 27 tliem, as alleged above, Plaintiff lias suffered huniiliation, niental anguish, anxiety, stress,

                 28 depression, and emotional and pliysical injury or illness, and lias been injured in body and niind all



                                                             COMPLAINT FOR DAMAGFS
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               1 11 to Plaintifi's damage in an aniount to be ascertained at tlie time of trial. As a proximate result of the

               2 11 acts of Defendants, anci eacli of them, as allegeci above, Plaintiff lias sufferecl physical and inental

               3 11 injtu•ies and lias necessarily expended sums in the tceatment of such injuries., all to Plaintiffs daniage

               4 11 in an aniount to be ascertaineci at the time of trial. As a fiu•tlier proxiniate result of the acts of

               5 II Defendants, and eacli of theni, inolusive, and each of tlieni, as alleged above, Plaintiff will

               6 11 necessarily continue to expend sums in the fitture for the treattiient of the physical, eniotional and

               7 11 nieiital injuries sustained by Plaintiff as a r.esult of said Defendants' acts ln aIl amount to be

               8 ascertained at the tinie of trial.

               9            70.    As a direct and proxiniate result of the above-described acts of Defendants, Plaiiitiff

             10 I lias necessarily incurred attorney's fees. and costs and, ptirsuaIlt to the provisions of California
                   I Go>>er•»menf. Code §12965(b), Plaintiff is entitled to the reasonable value of such attorney's fees and
      Ln0LO
~ ~~~ 12 I costs.

~Qo" 13                    71.     The above-described unlawful conciuct of Defendant, wliich was perpetrated,
U1w~~

~ a~o
    ~ 14           authorized, and/or ratified by its officer(s), director(s), and/or managing agent(s), was willftil,
     wg-
~ N ;~ 15 intentional, and malicious and dotie with the intent to vex, lIllufe aIld amloy Plaintiff; and was done
     N ~ O

      W~ 16        in conscious disregard of Plaintiffs rights, and, thus, warrant the iniposition of exemplary and
P~     w
             17 punitive damages in an_amount sufficient to punisli said Defendant and to deter others from engaging
             18 in similar.despicable conduct.
             19                                        FIFTH CAUSE OT' ACTION
                    FAILURE T.O TAIai ALL RFASONAI3LF STrPS TO PREVLNT DISCRIMINATION IN
             20             VIOLATION OF CALIFORNIA GOVERNMENT CODE § 12940(Ic)
                             (As Against Defendant Microsoft Corporation; and DOES 1 tlu•ough 10)
             21
             22            72.     Plaintiff hereby incorporates by tliis reference as if fiilly set forth herein, each and
             23 eveiy allegation set fortli in each and every averinent of Paragraphs set forth above in this
             24 Coniplaint.
             25            73.     California Government Code Section 12940(lc)(the FEHA) makes it an illegal
             26 practice for an employer "to fail to take all reasonable steps necessary to prevent discrimination and
             27 hat•assnient fi•om occurring."
             28

                                                                      16
                                                        COMPLAINT FOR DAMAGES
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                1             74.    As .allegecl above, Microsoft's nianagenient retaliated agaillst Plaintiff ancl

                2   discriminated against Plaintiff shortly after learning of PlaintifPs disability and Plaintiff talcing

                3    tneciical leave, as well as after Plaintiff's coniplaints regarding discriniination against him by his

                4   biased supervisor. Instead of protecting an older, foreign-born worlcer with a disability, as required

                5   by law and by Microsoft's policies, Microsoft failed to take all reasonable steps necessary to preve►it

                6   discrimination and retaliation froni occurring.

                7            75.     Microsoft's failure to talce all reasoiiable steps necessary to prevent discrimination

                8   and retaliation against Plaintiff, aiid teinunating Plaintiff fi•oni his employinent for false and

                9 11 pretextual reasons, and terminating Plaintiff because of his disability, his requests for and taking of

              10 II medical leave, and his complaints regarding discrimiiiation constitutes a failure on the part of

      0   I Defendant Microsoft to take all steps necessary to prevent discriniination in the wrorlcplace, in
    ~V)
    ~C~
~ W ~~ 12 I violation of the California Fair Eniployment and IIousing Act (FEIIA), codified in California
U Z Q o
              13 I Government Code Section 12940(k).
rnW~~
         `L
J~          0 14          76.     As a proximate result of the acts of Defendant, and each of theni, as ciescribed above,
      u; o LO
            ~
     .cN0)=0      I
          W c0 15 Plaintiff suffered econoinic ciamages, including lost wages and benefits, and other compensatory
       ~ O

       W~ 16 I damages in an amount to be ascertained at the time of ti•ial.
~       ~
          17         77.     As a ftu•tlier proximate result of the aforementiotiecl acts of Defendant, and eacli of

              18    tliem, .Plaintiff has sttffered humiliation, mental anguish, anxiety, stress, ciepression, and emotional

              19 and physical distress, and has been injured in body and mind all to Plaintiff s damage in an amount

              20 to be ascertained at the time of trial. As a proximate result of the acts of Defendant, as alleged

              21    above, Plaintiff has suffered pliysical and mental injuries and has necessarily expendecl sums in the

              22 treatment of such injtu•ies, all to Plaintiffs damage in an amount to be ascertained at the time of trial.

              23 As a ftn•ther proximate result of the acts of Defendant, as alleged above, Plaintiff will iiecessarily

              24 continue to expend sums in the fiithn•e for tlie treatment of the physical, eniotional and mental injtn•ies

              25 sustained by Plaintiff as a result of said Defendant's acts in an amount to be ascertained at the time

              26 of trial.

              27             78.    As a direct and proximate result of the above-described acts of Defendant, Plaintiff

              28 has necessarily inciirred attorney's fees and costs and, piirsuant to the provisions codified in



                                                        COMPLAINT FOR DAMAGES
                  Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 20 of 52 Page ID #:32




                    1 11 California Government Code Section 12965(b), PIaintiff is entitled to the reasonable value of such

                    2 11 attorney's. fees.

                    3            79.         The above-described unlawftil conduct of Defendant, whicli was perpetrated,

                    4 11 authori-zcd, and/or ratifiecl by its officer(s), director(s), and/or managing agent(s), was willfiil,

                    5 11 inteiitional, and malieious and done with the intent to ve:c, injure and annoy Plaintiff; and was cione

                    6 I I in conscious disregard of PlaintifPs riglits, and, thus, warrant the imposition of exeniplaiy and

                    7 I I punitive daniages in an amount sufficient to punisli sai'd Defendant and to deter others from engaging

                    8   in similar despicable conduct.

                    9                                         SEVENTH CAUSI•; OF ACTION
                                    WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
                  10                 (As Against Defendant Microsoft Corporation; and DOES 1 tluougli 10)

                                80.      Plaintiff incorporates anci realleges by reference all previous paragraphs, and eacli
              0
    NN
r1 wO~I~ 12
U Z¢ o      I and eveiy part tliereof, of this Coniplaint, with the same force and effect as tliough set forth at length
~Qo~ 13 I herein.

 a ~0 14
~~                              81.      tJnder California law, no cmployec, ivliether they are an at-will employee, or ati
              ~
~    CoZN
     N ~~ 15 employee under a written or other employment contract, :can be tei•minated for a reason or reasons
     N    ~O

          W       16    that are in violation of fiuidaniental public policies.       California Courts have interpreted a
o~            w
                  17 fiindatnental public. policy to be any articulable constitutional, or statutoiy provision, or regulation
                  18 that is concerned with a niatter effecting society at large rather than a purely personal or proprietary
                  19 interest of ttie eniployee or the employer. The ptiblic policy must be ftindamental, stibstantial, and
                  20 well established at the tinie of discliarge. California recognizes a public policy prohibiting age
                  21 diserimination, disability discrimination, and national origin/ancestiy discrimination in the
                  22 workplace. This publie poliey is eodified. in the FEIIA (Ccrlifornia Gover•nment Cocle §12940 et
                  23 seq.).      California also recognizes a public policy ptoliibiting retaliation against employees for
                  24 requesting and/or taking medical leave and for making complaints regarding discrimination in the
                  25 workplaee. This publie poliey is eodified in the FEHA (Ccrliforrii(r Government Code §12940 et
                  261 seq.) and the CFRA (Ccrlifa-riia Go>>ernnae»t Cocle § 12945.2 et seq.). It is a violation of California's

                  271 public policy against discrimination and retaliation of any type or forin, to termiriate an employee
                  281 for one or more unlawfiil reasons, as it is to terminate an older, foreign-born worker once that older


                                                              COMPLAINT FOR DAMAGES
         Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 21 of 52 Page ID #:33




               worker is diagnosed witli a disability tliat is lcnown to the emliloyer and the woi•ker lias requested

           2 and taken niedical leave and coniplained about discrimination against him in the worlcplace, as is

           3 I I the case liere.

           4            82.          Defendants nanied in this cause of action, ancl all. DOE Defendants, and eacli of

           5   tlietn, discriniinated against Plaititiff due to Plaintiffs age, disability, and/or national origin, and

           6   terniinated Plaintiff in violation of public policy, by teriiiinating Plaintiff becausc of PlaintifPs age,

           7   disability, national origin/ancestry, requests for niedical leaveh•easoriable accommodation, use of

           8   medical leave, and/or coniplaints of discrimination in the workplace, wliich is barred under the

           9 FDIIA and the CFRA, as codified in Califori7ia Government Code §§ 12900 et seq. and 12945.2 et

         10 seq. As alleged above, Defendants considered Plaintiff's age, disability, national origin/ancestry,

     0         requests for medical leave/reasonable accomniodation, tise of tnedical leave, and/or coinplaints of
     0
   cq 12
~W~~           discrimination in the workplace wlien terniinating Plaintiff based on pretextual reasons.

0 ' ~ "' 13      83.   As a proxiniate result of the acts of Defendants, as described above, Plaintiff suffered
v~W°~
   ~g 14 I economic damages, including lost wages and benefits, and other compensatoi•y daniages in an
  w0o~~
  ~ =0 15 I aniount to be ascertained at the; time of trial.
  ~ W6
   ~ `°
    w   16         84.     As a.further proxiniate result of the aforementioned acts of Defendants, and each of

         17 thein, as alleged above, Plaintiff lias suffered huiniliation, mental anguish, and eniotional and
         18 physical distress, and has been injured in body and mind all to Plaiiitiffs damage in an aniount to
         19 be ascertained at the time of trial. As a proximate result of the acts of Defendants, as alleged above,
         20 Plaintiff has suffered physical and mental injuries and has necessai•ily expended sums iti the
         21 tt•eattnent of such injuries, all to Plaintiffs daniage in an amount to be ascertained at the time of trial.
         22 As a fttrther proximate result of the acts of Defendatits, and eacli of theni, as alleged above, Plaintiff
         23 will ziecessarily continue to expend sums in the future for the treatment of the physical, eniotional
         24 and niental injuries sustained by Plaintiff as a result of said Defendants' acts in an amount to be
         25 ascertained at the time of trial.
         26            85.         The above-described unlawfttl conduct of Defendant, wliicli was perpetratecl,

         27 authorized, atid/or ratified by its officer(s), director(s), and/or managing agent(s), was willfiil,
         28 intentional, and malicious and done with the intent to vex, injure and annoy Plaintiff; and was done


                                                      COMPLAINT FOR DAMAGGS
            Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 22 of 52 Page ID #:34




              1 in conscious disregard of Plaintiffs rights, and, thus; warracit the imposition of exeinplary and
              2 punitive ciamages in an amount sufficient to punisli said.Defendant and to deter others fi•oni engaging

              3 in similar despicable conduct.

              4                                               PRAYER FOR RELIEr

              5          WHEREFORE, Plaintiff prays for the following relief and for Judgment .against

              6 Defendants, aiid each of them, to be deterniined by a jury, as follows:
              7          For all Catises of Action,
              g          1.     General damages in .an amotint according to proof; but in excess of tlie minimuni
             9                  JuClSdictlon of thls couTt;

            10          2.      For special damages in an amouiit according to proof, but in the excess of the
                                m1n1n1tUn jul'isdlCtion of tllls coul•t, to coinpensate, the Plaintiff for Plaintiff s loss of

    W   0) 0 12                 past and future earnings, and all damages flowiiig. fi•oni Plaintiff's loss of earnings,
U

0,
ui Q o"' 13                     loss of j`ob security, faihite to properly advance within Plaintiffs career, damage to
U1 wU_~
    a       14                  Plaintiffs reputation; and for loss of all fiiture earnings and benefits and job
~w o .-
    m=, ~0 15                   promotion,s and privileges Plaintiff would have had;
    ~ ~.
      W
      w 16              3.      For consequential econornic.loss; but for the wrongfiil terniination.

            17          4.      For all costs and disbursenlents inciu•red in this suit;

            18          5.      For all interest as allowed by law;

            19          6.      Where available and proper for attorneys' fees and costs incurred pursuing this

            20                  Coinplaint against Defendants;

            21          7.      Foi all emotional distress damages tliat propeily coinpensate Plaintiff for Plaintiff s

            22                 pain and suffering as a result of Defendants' actions as fully described in this.

            23                 Complaint for damages;

            24          8.     For Injunctive Relief and Declaratoiy Relief in Accordance witli Law;

           25           9.     For all applicable and appropriate exeinplaiy and punitive daniages; and,

           26           10.    All other relief the Cotn•t deems proper and appropriate.

           27
           28

                                                                   20
                                                      COMPLAINT POR DAMAGES
             Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 23 of 52 Page ID #:35




                   1
                          DATED; April 5, 2022                         BARRERA R ASSOCIATES
                  2

                  3
                                                                      By:
               4                                                            Pa cio Barrera
                                                                            JeremY H. Herwitt
               5                                                            Attoineys for Plaintiff Dragan Zaric
               6

               7

               .8
                                                           DEMAND FOR JURYYTRIAL
                      ~
               9
                                Plaintiff heteby demands a.trial by juiy.
             10


                          DATED: April 5,.2022                        I3ARRERA & ASSOCIATES
~WC"c, 12
Uz<~_
~Q           13
m J °~
    ~.                                                                                                   _
             14                                                       By:
      ~
    wg~
    N~~ 15                                                                  Patricio Barrera
    N uj O                                                                  Jeremy H. Herwitt
      W~ 16
                                                                            Attorneys for Plaintiff Dragan Zaric
~       w
             17

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             19

             20

             21.

             22

             23

             24

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             28


                                                           CnMPLAINT FOR DAMAGES
                        Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 24 of 52 Page ID #:36
Electronically FILED by Superior Court of California, County of Los Angeles on 04/05/2022Ft1 PM SUrri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                                                                                                              CM_n1n
               ATTORNEY OR PARTY WITHOUTATTORNEY (Name, State Harnumber, andLaddmssJ'     •
              Barrera & Associates; Patricio T.D. Barrera (SBN 149696)                                                                       FORCOURT USEONLY

              2298 E: Maple Avenue, EI Segundo, CA 90245

                          TELEPHONE No:: (310) 802-1500                 FAX NO. (optionap: (310) $02-0500
                         E-MAILADDREss: barrera@BAattorneys.com
                  ATrORNEY FOR (Name): PlaintiN Dragan Zaric
              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
               STREETADDREss: 111 North Hill Street
               MAILINGADDRESS: I'I'I North HIII Street
              CITY AND ZIP coDE: Los Angeles, CA 90012
                      RRANCH NAME: (',entral

              CASE NAME:
               Dragan Zaric v. Microsoft Corporalion
                       CIVIL CASE COVER SHEET                  Complex Case Designatlon             CASENUMBER:

              ~x       Unlimited        0 Limited           =      Counter         =      Joinder     22ST                                       CV         1    1     60       4
                       (Amount            (Amount
                       demanded.                           Filed with first appearance by defendant JuocE:
                                          demanded is
                       exceeds $25,000)   $25,000 or less)     (Cal. Rules of Court, rule 3.402)    DEPT.:
                                            Items 1-6 below must be completed (see instructions onpage 2).
              1. Check one box below for the case type that best describes this case:
                  Auto Tort                                             Contract                                       Provisionaily Complox Civil Lltlgation
                  ~     Aulo (22)                                      Q       Breach of contract/warranly (06)        (Cal. Rules of COLIrt, rules 3.400-3.403)
                  ~     Uninsured motorisl (46)                        0       Rule 3.740 colleclions (09)             0      Antitrust/Trade regulation (03)
                  Other PI/PD/WD (Personai Injury/Property             0       Other collections (09)                          Construclion defect (10)
                  Damage/Wrotlgful Death) Tort                                                                                 Mass tort (40)
                                                                       Q       Insurance coverage (18)                 0
                  ~         Asbestos (04)                              ~                                                       Securities liti9 alion ()
                                                                                                                                                       28
                                                                               Other conlract (37)
                  0         Product liability (24)
                                                                       Real Property                                   0     Environmental/Toxic lort (30)
                  0        Medical malpractice (45)                                                                           lnsurance coverage claims arising from the
                                                                       ~      Eminenl domain/lnverse
                  ~        011ler PI/PD/WD (23)                               condemnation (14)                              above listed provisionally complex case
                                                                                                                             types (41)
                  Non-PI/PD1WD (Other) Tort                            Q      Wrongful eviction (33)                   Enforcement of Judgment
                  0        Business torUunfair business practice (07)      Other real property (26)                    Q     Enforcement ofjudgment (20)
                  0        Civil riglris (06)                         Unlawful Detairter
                                                                                                                       Miscellaneous Clvil Cornplaint
                  ~        Defamation (13)                            0    Commercial () 31
                                                                                                                       ~      RICO (27)
                  0        Fraud (16)                                         Residential (32)
                                                                                                                       ~      Other complaint (no( speclried above) (42)
                  0        inlellectual property (19)                         Drugs (38)
                                                                                                                       Mlscellaneous Civil Petition
                  ~        Professional negligence (25)                Judicial Review
                                                                             Asset forfelture (05)                     ~      Parinersliip and corporale governance (21)
                  0    Other non-PI/PD/WD tort (35)                    ~
                  Employment                                           Q     Petition re: arbitration award (11)       0      Olher petition (not specirled above) (43)
                  ~x       Wrongful termination (36)                          Writ of mandate (02)
                  0        Other employment (15)                              Olherjudicial review (39)
             2.   This case U             is     Ox is not      comptex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                   factors requiring exceptional judicial management:
                  a. 0      Large number of separately represented parties                    d. 0      Large number of witnesses
                  b. 0      Extensive motion practice raising difficult or novel              e.       Coordination with related actions pending in one or more
                            issues that will be time-consuming to resolve                              courts in other counties, states, or countries, or in a federal
                  c. 0      Substantial amount of documentary evidence                                 court
                                                                              f.                       Substantial postjudgmentjudicial supervision
            3. Remedies sought (check all that apply): a• M      monetary b: M                       nonmonetary; declaratory or injunctive relief c. Ox punitive
            4. Number of causes of action (specify): SIX
            5. This case =       is   x0 is not       a ciass action suit.
            6. If there are any known related cases, file and serve a notice of                                     may use form CM-015.)
            Date: April •r, 2022
            Patrioio Barrera                                                                                                            ~~---~
                                               OR                                                                               OF PARTY OR

              • Plaintiff must file this cover sheet with the first paper fiied in the action or proceeding (except small claims cases or cases filed
                under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure.to file may result
                in sanctions.
              • File this cover sheet in addition to any cover sheet required by local court rule.
              • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                other parties to the action or proceeding.
              • Unless this is a.collections case under rule 3.740 or a compiex case, this cover sheet will be used for statistical purposes oniy.
                                                                                                                                                                            Paqe 1 of 2
            Form Adopted for Alandalory Uso                                                                                     Cal.RulesofCourt,n,les2.30,3.220,3.400-3.403; 3.740;
              Judicial CounGl of Califomla                              CIVIL CASE COVER SHEET                                         Cal. Standerds of Judicial Adminlstralion, sld.3.10
            CM-010 (Rev.September 1, 20211                                                                                                                           rnw.cauwis.ca.gov
          Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 25 of 52 Page ID #:37


                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                               CM-010
   To Plaintiffs and Others Filing First Papers. If you are fiiing a first paper (for example, a complaint) in a civil case, you
                                                                                                                                           rnust
   complete and flie, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be
                                                                                                                                        used to compiie
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you
                                                                                                                                         must check
   one box for the case type that best describes the case. If the case ffts both a general and a more specific type of case listed
                                                                                                                                              in item 1,
   check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of
                                                                                                                                               action.
  To assist you in completing the sheet, exampies of the cases that belong under each case type in item 1 are provided below. A
                                                                                                                                                  cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet witli the flrst paper filed in a civil case m`ay subject a party,
  its counsel, or both to sanctions under ruies 2.30 and 3.220 of the California Rules of Court.
  To Parties In Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
                                                                                                                                                    owed
  in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
                                                                                                                                                   which
  property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, uniess a defendant files a responsive pieading. A rule 3.740 collections
 case will be, subject to the requiremenls for service and obtaining a judgment in ruie 3.740.
 To Parties in Complex Cases. In complex cases only, parties must aiso use the Civil Case Cover Sheet to designate whether the
 case is complex. If a piaintiff believes the case is complex under ruie 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 compiaint on all parties to the action. A defendant may file and setve no later than the time of its first "appearance a joinder in the
 piaintifPs designation, a counter-designation that the case is not compiex, or, if the plaintiff has made no designation, a designation that
 the case is compiex.                                         CASE TYPES AND EXAMPLES
   Auto Tort                                      Contract
                                                                                                      Provisionalty Complex civil Litigatlon (Cal,
      Auto (22)-Personal Injury/Property               Breach of ContracWVarranly (06)                Rules of Cotirt Rules 3.400-3.403)
            Damage/Wrongful Dealh                           Breach of Rental/Lease
                                                                                                            Antitrust/Trade Regulation (03)
         Uninsured Motorisl (46) (if the                         Contract (not unlawful detafner
                                                                                                            Consiruction Defect (10)
          case Involves an uninsured                                 or  wrorigftrl evictlon)
                                                                                                            Claims Involving Mass Tort (40)
         motorfst clalm subjecf to                         ContracVWarranty       Breach-Seller
                                                                                                            Securities Liligation (28)
          arbltratlon, check this item                          Plainliff (not fraud or negligence)
                                                                                                            Environmental/Toxic Tort (30)
         instead ofAuto)                                   Negligent Breacfl of ContracU
                                                                                                            Insurance Coverage Clairns
   Otiier PI/PD/WD (Personai Injury/                            Warranty
                                                                                                                  (arising from provisionallycomplex
   Property DamagelWrongful Death)                         Other   Breach   of ContractNVarranty
                                                                                                                  case type listed above) (41)
   Tort                                               Collections   (e.g., money     owed,  open     Enforcement of Judgment
       Asbestos (04)                                       book accounts) (09)
                                                                                                         Enforcenient of Judgment (20)
          Asbestos Property Damage                         Collection Case-Seller Plalntiff
                                                                                                             Abstract of Judgment (Out of
          Asbestos Personal Injury/                        Olher Promissory Note/Colleclions
                                                                                                                   County)
                Wrongful Death                                  Case
                                                                                                         Confession of Judgment (non-
       Product Llability (not asbestos or             Insurance    Coverage (not provisionally
                                                                                                              domestic relations)
           toxfc%nvironmental) (24)                        complexJ (18)
                                                                                                         Sister State Judgment
       Medical Malpractice (45)                            Auto Subrogation
                                                                                                         Administrative Agency Award
            Medical Malpractice-                           Olher Coverage.
                                                                                                             (not unpaid taxes)
                 Physicians & Surgeons                Other   Contract   (37)
                                                                                                          Petilion/Certification of Entry of
       Other Professional Health Care                      Contractual Fraud
                                                                                                              Judgmerit on Unpaid Taxes
              Malpractice                                 Other Contract Dispute
                                                                                                          Ottier Enforcement of Judgment
       Olher PI/PDNVD (23)                       Real Property
                                                                                                                Case
           Premises Liability (e.g., slip             Eminent DomaiNlnverse
                                                                                                     Miscellaneous Clvil Complaint
                 and fall)                                Cdti
                                                             onemnaon (14)
                                                                                                         RICO (27)
           Intentional Bodily Injury/PD/WD            Wrongful Eviclon  i (33)
                                                                                                         OtherComplaint (nof speci/ied
                 (e.g., assault, vandalism)           Olher Real Property (e.g., qufet tille) (26)
                                                                                                               above) (42)
           Inlentionai Inlliction of                      Writ  of Possession    of  Real  Property
                                                                                                               Qeclaratory Relief Only
                 Emotional Distress                       Mortgage     Foreclosure
                                                                                                              Injunctive Relief Only (non-
           Negligent infficlion of                        Quiet Title
                                                                                                                   lrarassment)
                 Emotional Distress                       Olher Real Property (not eminent
                                                                                                              Mechanics Llen
           Other PI/PDIWD                                 domain,   landlord/tenant,    or                    Olher Commercial Complaint
 Non-PI/PDIWD (Other) Tort                                foreclosure)
                                                                                                                   Case (non-torbnon-complex)
      Business TorUUnfalr Business               Unlawul f Detainer
                                                                                                              Other Civil Complaint
          Practice (07)                              Commercial (31)
                                                                                                                   (non-tort/non-complex)
      Civil Rights (e.g., dlscrimination,            Residenlial (32)
                                                                                                     Miscellaneous Civil Petitfon
            false arrest) (not civil                 Drugs    (38) (if the case involves   illegal       Partnership and Corporate
            1larassment) (08)                        drugs, check this item; otherlvfse,
                                                                                                             Governance (21)
      Defamatlon (e.g., slander, libel)              report as Commercial orResidential)
                                                                                                         Other Petition (not specified
             (13)                               Judicial Rovlew
                                                                                                             above) (43)
      Fraud (16)                                     Asset Forfeiture (05)
                                                                                                             Civil Harassment
      Intellectual Property (19)                     Petition Re: Arbilration Award (11)
                                                                                                             Workplace Violence
      Professional NegIIgence (25)                   Wrlt of Mandate (02)
                                                                                                             Elder/Dependent Adult
         Legal Malpractice                                Writ-Administrative Mandamus
                                                                                                                  Abuse
          Olher Professional Malpractice                 Writ-Mandamus on Limited Court
                                                                                                             Election Contest
               (notmedical orlegalJ                           Case Matter
                                                                                                             Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                       Writ-Olher Limited Court Case
                                                                                                             Petitlon for Retief From Lale
 Employment                                                  Revlew
                                                                                                                  Claim
      Wrongful Terminalion (36)                      Other Judlcial Review (39)
                                                                                                             Olher Civil Petition
      Olher Employment (15)                              Review of Heallh Officer Order
                                                         Nollce of Appeal-Labor
                                                                Cornmissloner Appeals
CA1-010[Rev.Seplembor1,2021]
                                                          CIVIL CASE COVER SHEET                                                             Page2of2
               Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 26 of 52 Page ID #:38




           SHORT TITLE:                                                                                    CASE NUl.1BER
           Dragan Zaric v. Microsoft CorporaL-ion

                                  CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATIO
 I This form is required pursuant to LASC Local Rule 2.0 in all new civil case fiiings in the Los Angeles Superior Court.
                                                                                                                          I
  Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
      JURY TRIAL? Z        YES         CLASS ACTIQN? ❑         YES    LIMITED CASE? OYES             TIME ESTIMATED FOR TRIAL 8-10            ❑ HOURS/ 0 DAYS
 Item II. Select the correct district and courthouse iocation (4 steps — If you checked "Limited Case", skip to Item III, Pg. 4):
 Step 1: After first compieting the Civil Case Cover Sheet Form, find the main civil case cover sheet iteading for your case in
 the left margin beiow; and, to the right in Column A, the Civil Case Cover Sheet case type you selected.
 Step 2: Check.one Superior Court type of action in Column B beiow which best describes the nature of this case.
 Step 3: in Column C, circie the reason for the court location choice that appiies to the type of action you have checked.
 For any exception to the court location, see Los Angeies Superior Court Local Rule 2.0.

                          I Applicable Reasons for Choosing Courthouse Location (see Column C beiow) I
         1.   Class Aclions musl be filed in the Counly Courihouse, Cenlral District.                 6. Location of property or permanently garaged vehicle.
         2.   May be filed in Central (Other county, or no Bodily Injury/Property Damage),            7. Localion where petilioner resides.
         3.   Location where cause of action arose.                                                   8. Location wherein defendant/resPondent functions wholly.
         4.   Localion where bodily injury, death.or dama e occurred.                                 9. Localion where one or more of (he arlies reside.
         5.   Location where performance required or def9endanl resides.                              10. Location of Labor Commissioner O~ce.

Step 4: Fill in the ihformation re uested on page 4 in Item III; com lete Item IV. Si n the deciaration.

                       A                                                                   B                                                        C
          Civil Case Cover Sheet          Type of Action                                                                              Applicable Reasons.-
                Category No.                                                    (Check only one)                                       See Step 3 Above
  t
  0
 1--
  0                 Aulo (22)                   ❑    A7100 Motor Vehicle - Personal Injury/Property DamagelWrongful Deatli
 41                                                                                                                                  1 2., 4
  ~
 Q        Uninsured Motorist (46)            ❑       A7110 Personal Injury/Property Damage/Wrongful Dealh — Uninsured Motorist       1., 2., 4.

                                             ❑       A6070 Asbestos Property Damage                                                  2.
                 Asbestos (04)
                                             ❑       A7221 Asbestos - Personal Injury/Wrongful Dealli
                                                                                                                                     2.
              Product Llability (24)
                                             ❑       A7260 Product Liability. (not asbeslos or toxic/environmental)                  1., 2., 3., 4., 8.


                                             ❑      A7210 Medical Malpractice - Physicians & Surgeons
          Medical Malpractice (45)
                                             ❑      A7240 Olher Professional Heallh Care Malpractice

                                             ❑      A7250 Premises Liabilily (e.g., slip and fall)
                    Other                                                                                                            1., 2., 4.
                                             ❑      A7230 Intentional Bodily Injury/Properiy Damage/Wrongful Death (e.g.,
                Personal Injury
               Property Damage                       assaull, vandalism, etc.)
                Wrongful Dealh               ❑      A7270 Intenlional Infliction of Emotional Distress
                     (23)
                                             ❑      A7220 Other Personal Injury/Property Damage/Wrongful Death


              Business Tort, (07)
                                            ❑       A6029    Other Commercial/Business Tort (not fraud/breach of contracl)           1., 2., 3.

               Civil Rights (08)
                                            ❑       A6005    Civil Rights/Discrimination
aa                                                                                                                                   1., 2., 3.

               Defamation (13)
                                            ❑       A6010 Defamation (slander/Iibel)                                                 1., 2., 3.

                  Fraud (16)                ❑       A6013 Fraud (no contract)




        LACIV 109 (Rev. 01/07)                            CIVIL CASE COVER SHEET ADDENDUM                                                         LASC, rule 2.0
        LASC Approved 03-04                                  AND STATEMENT OF LOCATION                                                              Page 1 of 4
          Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 27 of 52 Page ID #:39



~
rn
N       SHORT TITLE:                                                                          CASE NUMBER
E
m       Dragan Zaric v. tdicrosoft Corporation
0—                                                                                          1.


        Civil CaseACover                                                      B
                                                                        Type of Action
                                                                                                                                          C
        Sfieet Category No.                                                                                                   Applicable Reasons
                                                                       (Check only one)                                        -See Step 3 Above


              Professional         ❑ A6017 Legal Malpractice
              Negligence
                  (25)             ❑   A6050 011ier Professionai Malpractice (not medical or legal)                          1., 2., 3.


               Other (35)          ❑ A6025 Other Non-Personal Injury/Property Damage tort                                    2.,3.


41c      Wrongful Terminalion
 m                                     A6037 Wrongful Termination
                (36)
 E
~
0         Other Employnient
a                                 ❑    A6024 Other Employment Complainl Case
                 (15)
E
w                                 ❑    A6109    LaborCommissionerAppeals
                                                                                                                            10

          Breach of ContracU      ❑    A6004 Breach of Rentai/Lease Contracl (not Unlawfui Detainer or wrongful eviction)   2, 5,
               Warranty           ❑    A6008   Conlract/Warranly Breach -Seller Plaintiff (no fraud/negilgence)             2 5
                  (06)
            (not insurance)       ❑    A6019   Negligenl Breach of Conlract/Warranty (no fraud)
                                                                                                                                     5.
                                  ❑    A6028   Other Breach of Contract/Warranty (not fraud or negligence)
                                                                                                                                     5.


                                  ❑    A6002   Colleclions Case-Seller Plaintiff                                            2., 5., 6.
              Collections
                 (09)             ❑    A6012   Olher Promissory Note/Collectlons Case
                                                                                                                            2 5

         Insurance Coverage       ❑    A6015 Insurance Coverage (not complex)                                               1., 2., 5., 8.
                 (18)

            Olher Conlracl        ❑    A6009 Contractual Fraud                                                              1., 2., 3., 5.
                 (37)             ❑    A6031 Tortious Interference                                                          1., 2., 3., 5.
                                  ❑    A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                  "1., 2., 3., 8.

             Eminenl              ❑    A7300 Eminent Domain/Condemnation             Number of parcels                      2.
          Domain/inverse
         Condemnalion 14

          Wrongful Eviction       ❑    A6023   Wrongful Eviction Case ,                                                     2., 6.
               (33)


         Other Real Property      ❑ A6018 Mortgage Foreclosure                                                              2., 6.
                (26)              ❑ A6032 Quiet Title
                                                                                                                            2..6.
                                  ❑ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)
                                                                                                                            2..6.

         Unlawrul Detainer-       ❑ A6021 Unlawful Detalner-Commercial (not drugs or wrongful eviction)
          Commerclal (31)                                                                                                   2., 6.

         Unlawful Detainer-       ❑ A6020 Unlawful D'etainer-Residentiai (not drugs or wrongfui eviction)
          Residential (32)                                                                                                  2., 6.

         Unlawful Detainer-       ❑ A6022 Unlawful Detainer-Drugs
            Drugs (38)                                                                                                      2., 6,


        Asset Forreilure (05)     ❑ A6108      Asset Forfeiture Case                                                        2„ 6,
        Petilion re Arbitrallon   ❑ A6115 Petilion to Compel/ConfirmNacate Arbitration
                 (11)                                                                                                       2., 5.




      LACIV 109 (Rev. 01/07)                   IVIL CASE COVER SHEET ADDENDUM                                                    LASC, rule 2.0
      LASC Approved 03-04                        AND STATEMENT OF LOCATION                                                           Page 2 of 4
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           SHORT TITLE:                                                                       CASE NUAIBER
          Dragan 2aric v. Microsoft Corporation


                      A                                                     B                                                 c
           CIviI Caso Cover Sheet                                     Type of Action                             Applicable Reasons -
                 Catogory No.                                        (Clieck only one)                            See Step 3 Above

                                        ❑   A6151 Writ - Administralive Mandamus                             2., 8,
               Writ of Mandate          ❑   A6152    Writ - Mandamus on Limited Court Case Malter            2.

                     (02)               ❑   A6153    Writ - Olher Limited Court Case Review                  2


            Other Judicial Review
                                        ❑   A6150    Other Writ /Judicial Review                             2., 8.
                    (39)

               AnlitrusVTrade
                                        ❑   A6003   AntitrusUTrade Regulation                                1., 2., 8.
               Regulation (03)

           Construction Defect (10)
                                        ❑   A6007 Construclion defect                                        1., 2., 3.

            Claims Involving Mass
                                        ❑   A6006    Claims Involving Mass Torl                              1., 2., B.
                  Torl (40)

           Securities Liligation (28)   ❑   A6035 Securities Lltigation Case


                  Toxic Tort
                                        ❑   A6036 Toxic TorVEnvironmental                                    1., 2., 3., 8.
             Environmental 30

            Insurance Coverage
                                        ❑   A6014 Insurance Coverage/Subrogation (complex case oniy)         1., 2., 5., 8.
            Claims from Complex
                 Case (41)

                                        ❑   A6141 Sister State Judgment                                      2., 9.

                                        ❑   A6160 Abstract of Judgment                                       2 ., 6;
                Enforcement
cc              of Judgment             ❑   A6107 Confession of Judgment (non•domestic relations)            2 9
E E
                     (20)               ❑   A6140 Administralive Agency Award (not unpaid taxes)
                                                                                                             2 8
     0
~~                                      ❑   A6114 Pelition/Certificate for Entry of Judgment on Unpaid Tax
                                                                                                             2., 8.
wO                                      ❑   A6112 Other Enforcemenl of Judgment Case
                                                                                                             2., 8., 9.

.~                kICO (27)             ❑   A6033 Racketeering (RICO) Case                                   1„ 2„ 8,
U N
                                        ❑   A6030 Declaratory Relief Only                                    1., 2., 8.
o 'M
a~ Q          Other Complaints          ❑   A6040 Injunctive Relief Only (not dorneslic/harassment)          2„ 8,
m E         (Not Specified Above)
y o                                     ❑   A6011 Other Commerclal Complaint Case (non-torUnon-complex)      1, 2., g.
v U                  (42)
y                                       ❑   A6000 Other Civil Complaint (non-tort/non-compiex)               1 2 8
~E
          Partnership Corporation       ❑   A6113 Partnership and Corporate Governance Case                  2„ 8,
              Governance(21)

                                        ❑   A6121 Civil Harassment
                                        ❑   A6123 Workplace Harassmenl                                       2    g 9
                                        ❑   A6124 Elder/Dependent Adult Abuse Case
                                                                                                             2., 3„ 9.
              Other Pelilions
           (Not Specified Above)        ❑   A6190 Election Contesl                                           2,
                                        ❑   A6110 Petilion for Change of Name
                     (43)                                                                                    2..7.
                                        ❑   A6170 Petilion for Relief from Late Claim L'aw
                                        ❑   A6100 Olher Civil Petilion
                                                                                                             2., 9.




         LACIV 109 (Rev. 01/07)             CIVIL CASE COVER SHEET ADDENDUM                                            LASC, rule 2.0
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  SHORT TITLE:                                                                      CASE NUh1BER
  Dragan Zaric v. Microsoft Corporation

 Item III. Statement of Location: Enter ttte address of the accident, party's residence or place of business, performance, or
 other circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the COurt location you selected.

          REASON: CHECK THE NUMBER UNDER COLUMN C                    ADDRESS:
                                                                     13031 PI. Jefferson Slvd., Suite 200
                    WHICH APPLIES IN THIS CASE

      ❑ 1. 02..03. ❑4: ❑5. ❑6. ❑7. ❑8. ❑ 9. ❑10.
  CITY:                              STATE:      ZIP CODE:
 Los Angeles                        CA          90094



 Item IV. Declaratlon of Assignment: I declare under penalty of perjury underthe laws of the State of California.that the foregoing is
 true and correct and that•the above-entitled mafter is properly filed for assignment'to the Mosk               courthouse in the
 Central                     District of the Los Angeles Superior Court (Code Civ. Proc., § 392 et seq., and LASC Local Rule 2.0,
 subds. (b), (c) and (d)).




 Dated: April,5~, 2022
                                                                                        ,   E0      TToftNEYI ILING PARTY)




          PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO
                           PROPERLY COMMENCE YOUR NEW COURT CASE:

     1. Original Complaint or Petition.

     2. If'filing a Complaint, a completed Summons form for issuance by the Clerk.

     3. Civil Case Cover Sheet form CM-010.

     4. Complete Addendum to Civil Case Cover Sheet form LACIV 109 (Rev. 01/07), LASC Approved 03-04.

     5. Payment in full of the filing fee, unless fees have been waived.
     6. Signed order appointing the Guardian ad Litem, JC form FL-935, if the plaintiff or petitioner is a minor
        under 18 years of age, or if required by Court.

     7. Additional copies of documents to be conformed by the-Clerk. Copies of the cover sheet and this addendum
        must be served along with the summons and complaint, or other initiating pleading in the case.




LACIV 109 (Rev. 01/07)                   CIVIL CASE COVER SHEET ADDENDUM                                                     LASC, rule 2.0
LASC Approved 03•04                         AND STATEMENT OF LOCATION                                                           Page 4 of 4
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                                                                                                     R85eNed ror olerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                          FI
                                                                                                                    LE D
 Stanley Mosk Courthouse                                                                           St,periar Court af Cagotr,ia
 111 North Hill Street, Los Angeles, CA 90012                                                        C""'tYd#L(%A'98!9S
                                                                                                         04/05)2022
                   NOTICE OF CASE ASSIGNMENT                                              &,Iarn Re~, E T,57.1Eyd 0ff~/G4& ogCa m'
                                                                                            B~~               R. Clifion              ~,~t~,
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   22STCV115Q4

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM "                  ASSIGNED JUDGE                         DEPT         ROOM
         Teresa A. Beaudet                  50




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 04/05/2022                                                         By R. Clifton                                               Deputy Clerk
                 (Date)

LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
          Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 31 of 52 Page ID #:43


                                   INSTRUCTIONS FOR IiANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assigmnent for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUSCONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Jtidge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resohrtion, bifiircation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have inotions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instnictions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel iiiust also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Comulex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                                ,.                                                2019-GEN-014-00
                                           .
                                                                                     FILLD
                                                                             Superior Court of Caliibrnia
1                                                                              County of Los Angeles

2                                                                                  MAY 0.3 2019
                                                                         Sherri   Carter, Ex utive Offiter/Clerk
3
                                                                          By                          ,D~~1
4                                                                                  zalinda Mina

5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                   FOR THE COUNTY OF LOS ANGELES
7

 8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
     — MANDATORY ELECTRONIC FILING )
9    FOR CIVIL                        )
                                                    )
10                                                 )
                                                   )
11

12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17   following:

18   1) DEFINITIONS

19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20          quickly locate and navigate to a designated point of interest within a document.

21      b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling

22          portal, that gives litigants access to the approved Electronic Filing Service Providers.

23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a

27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2         person or entity that receives an electronic filing from a party for retransmission to the Court.
3         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7         (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

8         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

9         process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sign the electronic record.
11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12        in a hypertext or hypermedia document to another in the same or different document.
13     h) "Portable Document Format" A digital document format that preserves all fonts,
14        formatting, colors and graphics of the original source document, regardless of the application
15        platform used.

16   2) MANDATORY ELECTRONIC FILING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created, maintained,

19        and preserved in electronic format. Any document that the Court receives electronically must
20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents through one or more approved EFSPs. Public Notices containing
28        effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.orQ.


                    FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1        d) Documents in Related Cases
 2           Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3           electronic filing has been implemented in that case type, regardless of whether the case has
 4           been related to a Civil case.
 5   3) EXEMPT LITIGANTS

 6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

 7           from mandatory electronic filing requirements.
 8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9           Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                  Civil Procedure sections 170.6 or 170.3;
16           ii)    Bonds/Undertaking documents;
17           iii)   Trial and Evidentiary Hearing Exhibits

18           iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                  that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20           v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                  electronically filed. A courtesy copy of the electronically filed motion or application to
22                  submit documents conditionally under seal must be provided with the documents
23                  submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27   //

28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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     5) ELECTRONIC FILING SYSTEM WORKIlVG PROCEDURES

       Electronic filing service providers must obtain and manage registration information for persons

       and entities electronically filing with the court.

     6) TECHNICAL REQUIREMENTS

       a) Electronic documents must be electronically filed in PDF, text searchable format when

          technologically feasible without impairment of the document's image.

7      b) The table of contents for any filing must be bookmarked.

8      c) Electronic documents, including but not limited to, declarations, proofs of service, and

9         exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10        3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11        item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12        bookedmarked item and briefly describe the iterrt.

13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
14         limited to, the following:
15         i)     Depositions;
16         ii)    Declarations;

17         iii)   Exhibits (including exhibits to declarations);
18         iv)    Transcripts (including excerpts within transcripts);

19         v)     Points and Authorities;

20         vi)    Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23         encouraged.
24     f) Accompanying Documents
25         Each document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.
27     g) Multiple Documents
28         Multiple documents relating to one case can be uploaded in one envelope transaction.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1     h) Writs and Abstracts
 2        Writs and Abstracts must be submitted as a separate electronic envelope.
 3     i) Sealed Documents
 4        If and when a judicial officer orders documents to be filed under seal, those documents must be
 5        filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6        the documents as sealed at the time of electronic submission is the submitting party's
 7        responsibility.
 8     j) Redaction

 9        Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14     a) Filed Date

15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code

19            Civ. Proc. § 1010.6(b)(3).)

20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed and/or that the document's filing date
25            conform to the attempted transmission date.

26   8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
28        than 10:00 a.m. the court day before'the ex parte hearing.

                                                           5
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1         b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
 2            day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
 3            application must be provided to the court the day of the ex parte hearing.
 4', 9) PRINTED COURTESY COPIES

 5         a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6            be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
 7 11         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
 8            by 10:00 a.m. the next business day.

 9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10            electronic submission) is required for the following documents:
11             i)   Any printed document required pursuant to a Standing or General Order;
12            ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                  pages or more;
14           iii)   Pleadings and motions that include points and authorities;
15           iv)    Demurrers;
16            v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17           vi)    Motions for Summary Judgment/Adjudication; and
18           vii)   Motions to Compel Further Discovery.

19        c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20            additional documents. Courtroom specific courtesy copy guidelines can be found at
21            www.lacourt.org on the Civil webpage under "Courtroom Information."
22      .0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FTLED DOCUIVIENTS
23        a) Fees and costs associated with electronic filing must be waived for any litigant who has
24            received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25            1010.6(d)(2).)
26        b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27            section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28            electronically filed in any authorized action or proceeding.


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1    1) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
5,

6           This First Amended General Order supersedes any previous order related to electronic filing,

7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

8    Supervising Judge and/or Presiding Judge.

9

10   DATED: May 3, 2019                                   xj~711"- z
                                                          KEVIN C. BRAZILE
                                                                               ~

11
                                                          Presiding Judge
12

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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
            Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 39 of 52 Page ID #:51

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  c~`l4~'r7J


               ~
                         Superior Court of California, County of Los Angeles


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        •
                               A_LTERNATIVE.DISPUTE RESOLUTIOIV (ADR)
                                      INFORMATION. PACKAGE




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantaees of ADR
    •       Saves Time: ADR is faster than going to trial.
    •       Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    •       Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •       Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantaees of ADR
    •       Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •       No Public Trial: ADR does not provide a public trial or a decision by a judge orjury.


Main Types of ADR

    1. Negotiation: Parties often talk with each other in person, or by phone or online abo,ut resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.


    2.      Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
            strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
            acceptable to all. ' Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.


                       Mediation may be appropriate when the parties
                          •   want to work out a solution but need help from a neutral person.
                         •    have communication problems or strong emotions that interfere with resolution.
                       Mediation may not be appropriate when the parties
                         •    want a public trial and want a judge orjury to decide the outcome.
                          •   lack equal bargaining power or have a history of physical/emotional abuse.




    LASC CIV 271 Rev. 04/21
                                                                                                                       Page 1 of 2
    For Mandatory Use
      Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 40 of 52 Page ID #:52




                                  How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a. The Civil Mediation Vendor Resource List
             If all parties in an active civil case agreeto mediation, they may contactthese organizations
             to request a"Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

                          ADR Services, Inc. Case ManagerElizabethSanchez, elizabeth@adrservices.com
                          (949) 863-9800
                          JAMS, Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                          Mediation Centerof Los Angeles Program Managerinfo@mediationLA.org
                          (833) 476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

          b. Los Angeles County Dispute Resolution Programs
              https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctoberl9-Current-as-of-October-2019-1.pdf


              Dayof trial mediation programs have been paused until further notice.

              Online Dispute Resolution (ODR). Partiesin small claims and unlawful detainer (eviction) cases
              should carefully reviewthe Notice and other information they may receive about (ODR)
              requirements for their case.

          c. Mediators and ADR and Barorganizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      argumentsto the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision isfinal; there is norighttotrial. In "nonbinding" arbitration, anypartycan requesta
      trial afterthe arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. MandatorySettlementConferences(MSC): MSCsare ordered bythe Court and areoften held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      ofFicer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses ofthe case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los AngelesSuperior Court ADRwebsite: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


LASC CIV 271 Rev. 04/21
For Mandatory Use                                                                                           Page 2 of 2
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                                                   VOLUNTARY EFFICIENT LITIGATION STIPULATIONS
                                  ~..
                                                      The Early Organizational Meeting Stipulation, Discovery
              ~~~•ss~~
             Sd                                    Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                                                   voluntary stipulations entered into by the parties. The parties
                                                   may enter into one, two, or all three of the stipulations;
                                                   however, they may not alter the stipulations as written,
                                                   because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                                    These ' stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                                   between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section                             manner that promotes economic case resolution and judicial
                                                   efficiency.
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                      Oi~ i       :`.n• , i. v~:
                                                       The    following organizations endorse        the   goa/   of
Consumer Attorneys
Association of Los Angeles                         promoting efficiency in litigation and ask that counsel
                                                   consider using these stipu/ations as a voluntary way to
                                                   promote communications and procedures among counsel
    {        s
                              q
                                                   and with the court to fairly resolve issues in their cases.
                                  ti
                                                   ♦ Los Angeles County Bar Association Litigation Section♦
Southern California
Defense Counsel
                                                              ♦ Los Angeles County Bar Association

wS1001iqY4, iVfoU}STtpY 7AM11~}
                                                                 Labor and Employment Law Section♦
                 ~       ■ l,,L,s
                        }~os

Association of
Business Trial Lawyers                                 ♦ Consumer Attorneys Association of Los Angeles♦


                                                             ♦ Southern California Defense Counsel♦
S        .       Wd                 f41• 7
                                       M



                                           _I                ♦ Association of Business Trial Lawyers♦
                 :N .CELA
California Employment
Lawyers Associatlon
                                                        ♦ California Employment Lawyers Association♦


             LACIV 230 (NEW)
             LASC Approved 4-11
             For Optional Use
         Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 42 of 52 Page ID #:54




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUiATTORNEY:               I   STATE BAR NUMBER   I            Reserved lor Clerlc's File Stamp




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optlonal):
    ATTORNEY FOR Name :
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES




                                                                                                CASE NUMBER:

           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

            a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
               amendment as of right, or if the Court would allow leave to amend, could an amended
               complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
               agree to work through pleading issues so that a demurr& need only raise issues they cannot
               resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
               would some other type of motion be preferable? Could a voluntary targeted exchange of
               documents or information by any party cure an uncertainty in the pleadings?

            b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
               employment case, the employment records, personnel file and documents relating to the
               conduct in question could be considered "core." In a personal injury case, an incident or
               police report, medical records, and repair or maintenance records could be considered
               "core.");

            c. Exchange of names and contact information of witnesses;

            d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
               indemnify or reimburse for payments made to satisfy a judgment;

            e. Exchange of any other information that might be helpful to facilitate understanding, handling,
               or resolution of the case in a manner that preserves objections or privileges by agreement;

            f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
               phases of the case. Also, when and how such issues can be presented to the Court;

            g. Whether or when the case should be scheduled with a settlement officer, what discovery or
               court ruling on legal issues is reasonably required to make settlement discussions meaningful,
               and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASCApproved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                            Page 1 of 2
  Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 43 of 52 Page ID #:55


SHORTTITLE:                             '     •                                  CASENUMBER:




              discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
              complaint;

     h. Computation of damages, including documents, not privileged or protected from disclosure, on
        which such computation is based;

     i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
        www.lacourt.org under "Civif' and then under "Genera/ Information").

              The time for a defending party to respond to a complaint or cross-complaint will be extended
              to                         for the complaint, and                            for the cross-
                       (INSERT DATE)                                       (INSERT DATE)
              complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
              and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
              been found by the Civil Supervising Judge due to the case management benefits provided by
              this Stipulation. A copy of the General Order can be found at www.lacourt.orp under "Civif',
              click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

              The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
              and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
              results of their meet and confer and advising the Court of any way it may assist the parties'
              efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
              the Case Management Conference statement, and file the documents when the CMC
              statement is due.

4.            References to "days" mean calendar days, unless otherwise noted. If the date for performing
              any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
              for performing that act shall be extended to the next Court day

The following parties stipulate:

Date:
                                                               ➢
                 (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                               ➢
                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                               ➢
                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                               ➢

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                               ➢
                 (TYPE OR PRINT NAME)                                (ATTORNEY FOR                             )
Date:
                                                               ➢
                 (TYPE OR PRINT NAME)                                (ATTORNEY FOR                             )
Date:
                                                               ➢
                 (TYPE OR PRINT NAME)                                (ATTORNEY FOR                             )


LACN 229 (Rev 02/15)
LASC Approved 04/11         STIPULATION — EARLY ORGANIZATIONAL MEETING                                  Page 2 of 2
      Print                  Save                                                                      Clear
         Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 44 of 52 Page ID #:56


NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk's Flle Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEYFOR Name:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS: `


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
                     STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                  a. The party requesting the Informal Discovery Conference will:

                              File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                              Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                              Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                    Page 1 of 3
  Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 45 of 52 Page ID #:57


SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a"specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



LACIV 036 (new)
LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
For Optional Use                                                                              Page 2 of 3
  Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 46 of 52 Page ID #:58


SHORT TITLE:                                                      CASE NUMBER:




The following parties stipulate:

Date:
                                                 LII
               (TYPE OR PRINT NAME)                              TTORNEY FOR
Date:
                                                 ➢
               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:
                                                 ➢
               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:
                                                 ]
               (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
Date:
                                                 ➢
               (TYPE OR PRINT NAME)                    (ATTORNEY FOR                              )
Date:
                                                 ➢
               (TYPE OR PRINT NAME)                    (ATTORNEY FOR                              )
Date:
                                                 ➢
               (TYPE OR PRINT NAME)                    (ATTORNEY FOR                              )




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LACIV 036 (new)
LASC Approved 04/11          STIPULATIOIV — DISCOVERY RESOLUTION
For Optional Use                                                                           Page 3 of 3
         Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 47 of 52 Page ID #:59




NAME AND ADDRESS OF ATTORNEY OR PARTY W ITHOUT ATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                   FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):

I SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES I


        FF:




                                                                                                       CASENUMBER:
                      INFORMAL DISCOVERY CONFERENCE
                (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                   ❑          Request for Informal Discovery Conference
                   ❑          Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                           (insert date 10 calendar days following filing of
              the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                                  (insert date 20 oalendar
              days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
              L~IG IclIucAEcu uwL.Vv4".1y, nli.Iuufllly LIIC IaGIJ aflu 11cUdII Cl11yu1111cnl3 21L liJJUC.




      LACIV 094 (new)
      LASC Approved 04/11
                                               INFORMAL DISCOVERY CONFERENCE
      For O tional Use                   (pursuant to the Discovery Resolution Stipulation of the parties)
            Print                       Save                                                                                          Clear
                                                                                                                           ~-
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk's Flle Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEYFOR Name:
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER - MOTIONS IN LIMINE


       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

             At least       days before the final status conference, each party will provide all other
             parties with a list containing a one paragraph explanation of each proposed motion in
             limine. Each one paragraph explanation must identify the substance of a single proposed
             motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b.- Whether any of the proposed motions can be briefed and submitted by means of a
                 short joint statement of issues. For each motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                 statement of issues may not exceed three pages. The parties will meet and confer to
                 agree on a date and manner for exchanging the parties' respective portions of the
                 short joint statement of issues and the process for filing the short joint statement of
                 issues.

       3. AII proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)
       LASC Approved 04/11              STIPULATION AND ORDER - MOTIONS IN LIMINE
       For Optional Use                                                                                                    Page 1 of 2
  Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 49 of 52 Page ID #:61


SHORT TITLE:                                                  CASE NVMBER:




The following parties stipulate:

Date:
                                                ➢
               (TYPE OR PRINT NAME)   _                   (ATTORNEY FOR PLAINTIFF)
Date:
                                                ➢
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                ➢
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                ➢
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                :
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR                           )
Date:
                                                ➢
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR                           )
Date:
                                                ➢
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR



THE COURT SO ORDERS.

  Date:
                                                              JUDICIAL OFFICER




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LACN 075 (new)
LASC Approved 04/11      STIPULATION AND ORDER — MOTIONS IN LIMINE               Page 2 of 2
       Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 50 of 52 Page ID #:62

                                         a   y   a




 1

 2                                                                   L05
                                                                           ElkED       PERIOR COURT

 3                                                                             MAY 11 2011
 4                                                                         JOHN A CLARKE, ~l.ERK

 5                                                                    BY NA(dCYiVA~q
                                                                                   O,~DEPUTY

 6

 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 s                             FOR THE COUNTY OF LOS ANGELES
 9
       General Order Re                              )    ORDER PURSUANT TO CCP 1054(a),
lo
       Use of Voluntary Efficient Litigation          )   EXTENDING TIME TO RESPOND BY
11     Stipulations                                   )   30 DAYS WHEN PARTIES AGREE
                                                     )    TO EARLY ORGANIZATIONAL
12                                                   )    MEETING STIPULATION
13
                                                     1

14
              Whereas the Los Angeles Superior Court and the Executive Committee of the
15
       Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
       drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18     use in general jurisdiction civil litigation in Los Angeles County;

19            Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
       Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
       Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24     Employment Lawyers Association all "endorse the goal of promoting efficiency in
25 '
       litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
       promote communications and procedures among counsel and with the court to fairly
27 I
       resolve issues in their cases;"
2s




                                  ORDER PURSUANT TO CCP 1054(a)
          Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 51 of 52 Page ID #:63

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f
                                           . 11   • ,


      ~           Whereas the Early Organizational Meeting Stipulation is intended to encourage

     Z    cooperation among the parties at an early stage, in litigation in order to achieve

     3    litigation efficiericies;

     4            Whereas it is intended that use of the Early Organizational Meeting Stipulation
     5
          will promote economic case resolution and j'udicial efficiency;
     6
     7            Whereas, in orderto promote a meaningful discussion of pleading issues at.the

      s   Early Organizational Meeting and potentially to reduce the need for motions to.

      9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
     io
          Organizational Meeting before th'e time to respond to a complaint or cross complaint
     ii
          has expired;
     ia
     13           Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

     14   which an action is pending to extend for not more than 30 days the time to respond to

     15   a pleading "upon good cause shown";
     16
                  Now, therefore, this Court hereby, finds that there is good cause to extend for. 30
     17
          days the time to respond to a complaint or to a cross complaint in any action in which
     is
     19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

     20   of good cause is based on the anticipated judicial efficiency and :benefits of economic       I
     21
          case resolution that the Early Organizational Meeting Stipulation is intended to
     22
          promote.
     23
                  IT IS HEREBY ORDERED that, in any case in which the parties have entered
     24
     25   into an Early Organizational Meeting Stipulation, the time for a defending party to
     26 ' respond to a complaint or cross complaint shall be extended by the 30 days permitted
     27

     2s

                                                        -2-

                                      ORDER PURSUANT TO CCP '1054(a).
         Case 2:22-cv-03060 Document 1-2 Filed 05/06/22 Page 52 of 52 Page ID #:64

~




         I by Code of Civil Procedure section 1054(a) without further need of a specific court
     1

     2   I order.

     3
                                                                   ~

     4

     5                                             Carolyn B. Kuh Supervising Judge of the
                                                   Civil Departments, Los Angeles Superior Court
     6

     7

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                                   ORDER PURSUANT TO CCP 1054(a)
